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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MINNESOTA


  SERGIO NAVARRO, THERESA
  GAMAGE, DAYLE BULLA, and JANE
  KINSELLA, and ERICA McKINLEY, on
  their own behalf, on behalf of all others
  similarly situated, and on behalf of the
  Wells Fargo & Company Health Plan and
  its component plans,
                                                  Civil Action No. 0:24-cv-03043-LMP-
                             Plaintiffs,          DLM

         v.

  WELLS FARGO & COMPANY,
  MICHAEL BRANCA, MARK
  HICKMAN, DREW WINELAND,
  DAVID GALLOREESE, BEI LING, and
  DOES 1 20

                             Defendants.

                     AMENDED CLASS ACTION COMPLAINT

       Plaintiffs Sergio Navarro, Theresa Gamage, Dayle Bulla, and Jane Kinsella, and

Erica McKinley, individually, on behalf of all others similarly situated, and on behalf of

the Wells Fargo & Company Health Plan (the “Plan”), bring this action under 29 U.S.C. §

1132 against DefendantsDefendant Wells Fargo & Company, Michael Branca, Mark

Hickman, Drew Wineland, David Galloreese, Bei Ling, and Does 1 20, (“Wells Fargo”),

for breaches of fiduciary duties and engaging in prohibited transactions under the

Employee Retirement Income Security Act (“ERISA”), 29 U.S.C. §§ 1001-1461, and state

and allege as follows:


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       1.      Congress enacted ERISA in the wake of several high-profile scandals

involving employers that mismanaged their employee benefits programs.                   This

mismanagement had inflicted millions of dollars of harm on employees and their

dependents. ERISA was designed to put an end to this mismanagement and to protect the

interests of employee benefit plan participants. It does so by “establishing standards of

conduct, responsibility, and obligation for fiduciaries of employee benefit plans,” and by

providing plan participants and beneficiaries with “appropriate remedies, sanctions, and

ready access to the Federal courts” when plan fiduciaries mismanage ERISA plans. 29

U.S.C. § 1001(b). Courts have referred to ERISA’s fiduciary duties as “the highest known

to the law.”

       2.      ERISA subjects anyone with discretionary authority over an employee-

benefits plan to fiduciary duties derived from the law of trusts. Relevant here, ERISA’s

“duty of prudence” requires fiduciaries to act “with the care, skill, prudence, and diligence

under the circumstances then prevailing that a prudent man acting in a like capacity and

familiar with such matters would use in the conduct of an enterprise of a like character and

with like aims.” 29 U.S.C. § 1104(a)(1)(B). Among other things, ERISA’s duty of

prudence requires plan fiduciaries to make a diligent effort to compare alternative service

providers in the marketplace, negotiate prudently on behalf of the plan, and continuously

monitor plan expenses to ensure that they remain reasonable and appropriate under the

circumstances. In addition, ERISA’s “duty of loyalty” requires fiduciaries to discharge

their duties for the exclusive purpose of providing benefits to participants and their

beneficiaries and defraying reasonable expenses of administering the plan.

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       3.     This case involves mismanagement of prescription-drug benefits. Over the

past several years, DefendantsWells Fargo breached theirits fiduciary duties and

mismanaged Wells Fargo’sits prescription-drug benefits program, costing their ERISAthe

Plan and their employeesparticipants/beneficiaries of the Plan millions of dollars in the

form of higher payments for prescription drugs, higher premiums, 1 higher out-of-pocket

costs, and lower wages or limited wage growth.                   Defendants’Wells Fargo’s

mismanagement is evident from, among other things, the prices it agreed to pay one of its

vendors—its Pharmacy Benefits Manager (“PBM”)—for many generic drugs that are

widely available at drastically lower prices.        For example, someone with a 90-unit

prescription for the generic drug fingolimod (the generic form of Gilenya, used to treat

multiple sclerosis) could fill that prescription, without even using their insurance, at

Wegmans for $648, ShopRite for $677.68, Rite Aid for $891.63, Walmart for $895.63, or

from Cost Plus Drugs online pharmacy for $875.09. DefendantsWells Fargo, however,

agreed to make the Plan and its participants/beneficiaries pay $9,994.37 for each 90-unit

fingolimod prescription. The burden for that overpayment falls on both the Plan and its

participants/beneficiaries. The Plan itself pays most of the agreed amount from Plan assets,

while Plan participants/beneficiaries pay more in the form of increased premiums and

increased out-of-pocket costs. No prudent fiduciary would agree to make its plan and

participants/beneficiaries pay a price that is fifteen times higher than the price available to



1
   For purposes of this Amended Complaint, the term “premiums” or “premium
contributions” refers to contributions to pay for insurance coverage in the Plan, which is
self-funded.
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participants/beneficiaries pay for the exact same drug goes largely into the pockets of the

Plan’s PBM (Express Scripts), at the expense of the Plan and its participants/beneficiaries.

       5.     Discrepancies like this exist for dozens of drugs under the Plan. For example,

as explained in greater detail below, DefendantsWells Fargo designated approximately 300

generic drugs as “preferred” drugs that participants/beneficiaries are encouraged to use.

over both the brand-name equivalent and other generic alternatives. Across all such

“preferred” drugs for which there is publicly available data on average acquisition costs,

DefendantsWells Fargo agreed to make the Plan and its beneficiaries pay, on average, a

markup of 114.97% above what it costs pharmacies to acquire those same drugs. In other

words, for drugs that Defendants themselves designateWells Fargo designated as

“preferred” choices for Plan participants/beneficiaries, DefendantsWells Fargo agreed to

make the Plan and its participants/beneficiaries pay, on average, more than twice as much

as Express Scripts (or the pharmacy owned by Express Scripts, called Accredo) paid for

those very same drugs.

       6.     For another example, as explained in greater detail below, certain generic

and branded drugs are designated as “specialty” drugs based on the conditions they treat or

other factors. An analysis of Defendants’Wells Fargo’s prices for the generic drugs

designated as specialty on a publicly available formulary managed by Express Scripts

reveals a pattern of unreasonable markups. Across all generic-specialty drugs on the

formulary for which there is publicly available data on average acquisition costs,

DefendantsWells Fargo agreed to make the Plan and its beneficiaries pay, on average, a

markup of 383% above what it costs pharmacies to acquire those drugs. In other words,

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DefendantsWells Fargo agreed to make the Plan and its beneficiaries pay, on average,

roughly 5 times as much as Express Scripts or Accredo paid for those very same drugs.

       7.     DefendantsWells Fargo also agreed to terms under which Plan

participants/beneficiaries are required to obtain some of their prescriptions from Accredo,

the mail-order pharmacy that Express Scripts owns, even though that pharmacy’s prices

are routinely higher than the prices at other pharmacies. For example, DefendantsWells

Fargo agreed to require a Plan participant/beneficiary seeking to obtain one tube of the

generic drug bexarotene (used to treat a form of lymphoma) to use Accredo instead of

going to a retail pharmacy, even though this would result in the Plan paying thousands of

dollars more due to the high prices at Accredo. Specifically, bexarotene gel is available

for a cash price (i.e., without using insurance) of $3,750 at Rite Aid, $4,129 at Wegmans,

$7,256 at Walgreens, and $10,310.07 at Cost Plus Drugs, but costs $69,806.75 from

Accredo.        In   short,    Defendants     are      steeringWells     Fargo   steers    Plan

participants/beneficiaries toward an option that, for many drugs, wastes thousands of

dollars in Plan assets while enriching Express Scripts by that same amount. This fiduciary

mismanagement has resulted in higher costs for the plan, higher premiums for

participants/beneficiaries including Plaintiffs, and higher out-of-pocket costs for those

required to use Accredo to fill their prescriptions.

       8.     DefendantsWells Fargo also agreed to pay excessive administrative fees to

Express Scripts. Fiduciaries conducting negotiations on behalf of plans as big as Wells

Fargo’s have substantial bargaining power and, when acting prudently, can obtain low rates

compared to smaller plans with less bargaining power. DefendantsWells Fargo, however,

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squandered that bargaining power, agreeing not only to make the Plan and its participants

pay Express Scripts unreasonably high prices for prescription drugs, but also to pay

excessive administrative fees to Express Scripts. According to its most recent Form 5500

filing, Defendantsfilings, Wells Fargo paid over $25 million in administrative fees to

Express Scripts in 2022, or $135.81 per participant. That amount, and over $31 million in

administrative fees to Express Scripts in 2023, or $177.48 per participant. Those amounts

greatly exceedsexceed the per-participant fees paid to Express Scripts by plans comparable

in size and smaller than Wells Fargo’s plan. These excessive fees have resulted in higher

costs for the plan and higher premiums for participants/beneficiaries, including Plaintiffs.

       9.     DefendantsWells Fargo failed to satisfy theirits fiduciary obligations at

multiple steps in the process of administering prescription-drug benefits. DefendantsWells

Fargo failed to exercise prudence and failed to act in the interest of participants and

beneficiaries in selecting a PBM, in agreeing to make Wells Fargo’s ERISA plan and its

participants/beneficiaries pay unreasonable prices for prescription drugs based on

unreasonable methodologies, in agreeing to pay excessive fees to Express Scripts, in

agreeing to contract terms with Express Scripts that needlessly allowsallow Express Scripts

to enrich itself at the expense of the Plan and its participants/beneficiaries, in failing to

monitor Express Scripts and the prices charged for prescription drugs, in failing to address

conflicts of interest, in failing to actively manage and take reasonable measures oversee

key aspects of the company’s prescription-drug program, and failing to take available steps

to rein in Express Scripts’ profiteering, protect plan assets, and avoid unnecessary costs to

participants and beneficiaries and protect their interests.

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       10.    The price discrepancies noted herein are illustrative of a pervasive and

systematic problem of unreasonable prescription drug charges, despite well-known

alternatives available to DefendantsWells Fargo. Among other things, DefendantsWells

Fargo should have: used theirits bargaining power to obtain better rates from Express

Scripts or another traditional PBM; taken steps to steer participants/beneficiaries toward

the most cost-effective option or away from Accredo; moved all or parts of theirits

prescription-drug planprogram to a PBM that bases its prices on actual pharmacy

acquisition costs rather than inflated and manipulable benchmarks; moved all or parts of

theirits prescription-drug planprogram to a “pass-through” PBM that does not engage in

spread pricing; and/or taken other steps detailed below. Yet Defendants haveWells Fargo

instead chosenchose to force the Plan and its participants/beneficiaries to acquire drugs via

some of the most expensive methods conceivable.

       11.    ERISA required DefendantsWells Fargo to make a diligent and thorough

comparison of alternative service providers in the marketplace, to negotiate prudently on

behalf of the Plan, and to continuously monitor plan expenses and ensure that they remain

reasonable under the circumstances. DefendantsWells Fargo did not do those things, and

certainly not to the extent ERISA requires. DefendantsWells Fargo breached theirits

fiduciary duties by failing to engage in a prudent and reasoned decision-making process.

If DefendantsWells Fargo had engaged in a prudent and reasoned decision-making process,

they would have known of, and adopted, any of numerous options that would have

drastically lowered the cost of prescription drugs, and would have resulted in other cost

savings for the Plan and its participants and beneficiaries. Implementing those available

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options would have saved the Plan and its participants/beneficiaries millions of dollars over

the proposed class period.

       12.    DefendantsWells Fargo also violated ERISA’s strict prohibitions on

transactions with parties-in-interest. To ensure that plan assets are not wasted through

irresponsible contracting practices, Congress prohibited all exchanges of property between

an ERISA plan and a third-party service provider, all furnishing of services between an

ERISA plan and a third-party service provider, and all transfers of assets between an

ERISA plan and a third-party service provider, unless plan fiduciaries demonstrate that

such transactions fall within specifically enumerated exemptions to the prohibited-

transaction provision. Because the compensation DefendantsWells Fargo agreed to pay

Express Scripts was not “reasonable,” and because no other exemption applies,

DefendantsWells Fargo also violated ERISA’s prohibited-transaction provision, costing

the Plan and its participants/beneficiaries millions of dollars over the proposed class period.

       13.    To remedy these fiduciary breaches and prohibited transactions, Plaintiffs,

individually and on behalf of the Plan and all others similarly situated, bring this action to

enjoin DefendantsWells Fargo from breaching theirits fiduciary duties and violating

ERISA’s prohibited transaction rules, to make good to the Plan and its participants and

beneficiaries all losses resulting from each fiduciary breach and prohibited transaction, and

for other equitable relief specified below.

I.   PARTIES AND OTHER RELEVANT ENTITIES

       14.    Plaintiff Sergio Navarro was enrolled in the Plan while he worked at Wells

Fargo, and was a “participant” in the ERISA plan at issue here within the meaning of

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ERISA § 3(7), 29 U.S.C. § 1002(7). Navarro began employment with Wells Fargo in May

2023 and ended his employment in November 2023. Navarro paid premiums for health

insurance coverage (including prescription drug coverage) under the Plan and also paid

separately for prescription drugs purchased through the Plan. Navarro has been financially

injured by the fiduciary breaches and prohibited transactions alleged herein. Navarro paid

higher premiums for insurance coverage under the Plan, and also paid higher out-of-pocket

costs for prescription drugs purchased through the Plan, than he otherwise would have paid

but for Wells Fargo’s violations of ERISA as alleged herein. In addition, Navarro’s health

care choices were improperly limited because Wells Fargo required him to fill certain

prescriptions through Express Scripts’ affiliated pharmacy, Accredo, rather than allowing

him to fill those prescriptions through other marketplace providers (which charged lower

amounts and did not provide only mail-order service).

       15.    Plaintiff Jane Kinsella was a “participant” in the ERISA plan at issue here

within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7). Kinsella began employment

with Wells Fargo in 1980 and ended her employment in or around January 2021. Kinsella

paid premiums for health insurance coverage (including prescription drug coverage) under

the Plan and also paid separately for prescription drugs purchased through the Plan.

Kinsella has been financially injured by the fiduciary breaches and prohibited transactions

alleged herein. Kinsella paid higher premiums for insurance coverage under the Plan, and

also paid higher out-of-pocket costs for prescription drugs purchased through the Plan, than

she otherwise would have paid but for Wells Fargo’s violations of ERISA as alleged herein.

In addition, Kinsella’s health care choices were improperly limited because Wells Fargo

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required her to fill certain prescriptions through Express Scripts’ affiliated pharmacy,

Accredo, rather than allowing her to fill those prescriptions through other marketplace

providers (which charged lower amounts and did not provide only mail-order service).

      16.    Plaintiff Dayle Bulla was a “participant” in the ERISA plan at issue here

within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7). Bulla began employment with

Wells Fargo in 1994 and ended her employment in or around March 2020. Bulla paid

premiums for health insurance coverage (including prescription drug coverage) under the

Plan and also paid separately for prescription drugs purchased through the Plan. Bulla has

been financially injured by the fiduciary breaches and prohibited transactions alleged

herein. Bulla paid higher premiums for insurance coverage under the Plan, and also paid

higher out-of-pocket costs for prescription drugs purchased through the Plan, than she

otherwise would have paid but for Wells Fargo’s violations of ERISA as alleged herein. In

addition, Bulla’s health care choices were improperly limited because Wells Fargo required

her to fill certain prescriptions through Express Scripts’ affiliated pharmacy, Accredo,

rather than allowing her to fill those prescriptions through other marketplace providers

(which charged lower amounts and did not provide only mail-order service).

      17.    Plaintiff Theresa Gamage was a “participant” in the ERISA plan at issue here

within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7). Gamage began employment

with Wells Fargo in 2015 and ended her employment in or around July 2020. Gamage paid

premiums for health insurance coverage (including prescription drug coverage) under the

Plan and also paid separately for prescription drugs purchased through the Plan. Gamage

has been financially injured by the fiduciary breaches and prohibited transactions alleged

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herein. Gamage paid higher premiums for insurance coverage under the Plan, and also paid

higher out-of-pocket costs for prescription drugs purchased through the Plan, than she

otherwise would have paid but for Wells Fargo’s violations of ERISA as alleged herein. In

addition, Gamage’s health care choices were improperly limited because Wells Fargo

required her to fill certain prescriptions through Express Scripts’ affiliated pharmacy,

Accredo, rather than allowing her to fill those prescriptions through other marketplace

providers (which charged lower amounts and did not provide only mail-order service).

      18.    Plaintiff Erica McKinley was and is a “participant” in the ERISA plan at

issue here within the meaning of ERISA § 3(7), 29 U.S.C. § 1002(7). McKinley began

employment with Wells Fargo in 2016. Although she ended her employment with Wells

Fargo in or around February 2024, she remains covered under the Plan as a result of

electing to continue her coverage under the Consolidated Omnibus Budget Reconciliation

Act (“COBRA”). As a Plan participant, McKinley has paid premiums for health insurance

coverage (including prescription drug coverage) under the Plan, and currently pays both

the employer share and the employee share of those premium contributions in connection

with her COBRA coverage (plus a 2% administrative fee).      McKinley also had paid and

continues to pay separately for prescription drugs purchased through the Plan. McKinley

has been financially injured, and continues to suffer ongoing injury, as a result of the

fiduciary breaches and prohibited transactions alleged herein. McKinley has paid (and

continues to pay) higher premiums for insurance coverage under the Plan, and also has paid

(and continues to pay) higher out-of-pocket costs for prescription drugs purchased through

the Plan, than she otherwise would have paid but for Wells Fargo’s violations of ERISA

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as alleged herein. In addition, McKinley’s health care choices have been and continue to

be improperly limited because Wells Fargo requires her to fill certain prescriptions through

Express Scripts’ affiliated pharmacy, Accredo, rather than allowing her to fill those

prescriptions through other marketplace providers (which charge lower amounts and do

not provide only mail-order service).

       18.19. Plaintiffs bring this lawsuit on behalf of themselves, on behalf of all others

similarly situated, and on behalf of the Wells Fargo & Company Health Plan, to remedy

Defendants’Wells Fargo’s mismanagement of the ERISA plan at issue here and to obtain

appropriate relief under ERISA.

       19.20. Defendant Wells Fargo & Company is a multinational financial services

company. Wells Fargo earned approximately $83 billion in revenue in the 2023 fiscal year,

placing it 47th on the 2023 Fortune 500. It employs over 200,000 people and provides

many of its U.S. employees with healthcare benefits, including prescription-drug benefits.

It also provides healthcare benefits, including prescription-drug benefits, to certain of its

retirees.

       20.21. Wells Fargo sponsors the Wells Fargo & Company Health Plan (the

Plan”). The Plan is an employee welfare benefit plan as defined at 29 U.S.C. § 1002(2)(A).

The purpose of the Plan is to provide medical benefits, including prescription drug benefits,

to current and certain former employees of Wells Fargo, as well as to their family members.

The Plan’s prescription-drug benefits are administered by a third-party service provider

called Express Scripts. The Plan pays Express Scripts about $25-30+ million annually in

administrative fees, plus many millions more in fees that Express Scripts collects from the

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Plan and its beneficiaries/participants through its spread pricing and retention of rebates,

as described below.

       21.22. All or most of the Plan’s expenses In all relevant respects, the Wells Fargo

Plan is a self-funded health plan, and as such, the Plan’s expenses are shared by Wells

Fargo and the participants/beneficiaries of the Plans instead of being paid by a third-party

insurance company.2 The Plan’s expenses, including all Plan expenses paid to Express

Scripts (i.e., all expenses excluding out-of-pocket expenses billed directly to

participants/beneficiaries pursuant to deductibles, copays, etc.) are paid from the Wells

Fargo & Company Employee Benefit Trust (“the Trust”), which is an employer-sponsored

trust established under I.R.C. 501(c)(9) for the payment of medical benefits under the Plan.

The Trust’s IRS Form 990 submission states: “The trust was established to provide

employee benefits to eligible employees on Wells Fargo [sic] including medical, dental,

and vision benefits.” The Trust is funded by a combination of employer and employee

contributions, along with a negligible amount of investment income. In a self-funded plan,

like Wells Fargo’s, the trust is responsible for 100% of the expenses of the plan; they do

not share the actuarial risk with a third-party insurance carrier. In the most recent year of

reporting, the Plan’s participants made approximately $650.94676.33 million in

contributions to the Trust. The funds held by the Trust are assets of the Plan and must be




2
  To the extent that the Plan offers fully-insured programs from outside insurance
companies (e.g., Kaiser) for certain subsets of employees, those programs do not involve
Express Scripts and are excluded from the definition of the “Plan” for purposes of this
action.
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used for the exclusive benefit of the Plan’s participants and their beneficiaries. No portion

of the Trust may revert to Wells Fargo or be used for or diverted to any purpose other than

for the exclusive benefit of participants in the Plan and its beneficiaries.

       22.23. The Wells Fargo & Company Health Plan Administrators are fiduciaries of

the Plan with general authority for the management and administration of the Plan. The

Plan Administrators currently include Wells Fargo’s Head of Human Resources (or the

functional equivalent title of the most senior position in Human Resources), the Head of

Total Rewards (or the functional equivalent title of the most senior position in Human

Resources over compensation and benefit plans or programs other than the Head of Human

Resources), and the Head of Benefits (or the functional equivalent title of the most senior

position in Human Resources over benefit plans and programs other than the Head of

Human Resources and the Head of Total Rewards). The Plan Administrators are high-

level Wells Fargo employees appointed to the Plan Administrator position by Wells Fargo.

       23.24. Defendant Wells Fargo is the sponsor of the Plan and a fiduciary of the Plan.

As the Plan sponsor, Wells Fargo is responsible for appointing and removing Plan

Administrators, and on information and belief, retains decision-making authority with

respect to the Plan. Wells Fargo also has a fiduciary duty to monitor its appointed

fiduciaries, and it failed to adopt or follow sufficient procedures to review and evaluate the

performance of the Plan Administrators and to remove fiduciaries whose performance was

inadequate and/or failed to satisfy ERISA’s fiduciary duties and statutory requirements.

Wells Fargo is also liable for the fiduciary breaches and other ERISA violations of Plan

Administrators as an appointing and monitoring fiduciary, and as a co-fiduciary under 29

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U.S.C. § 1105. In addition, Wells Fargo is liable for the fiduciary breaches and other

ERISA violations of the Plan Administrators because the Plan Administrators were acting

within the course and scope of their employment when they committed the fiduciary

breaches and violations at issue and because Wells Fargo did not make reasonable efforts

under the circumstances to remedy the breaches and violations. For purposes of this

litigation, Wells Fargo has “agree[d] to assume responsibility for all acts or omissions

relating to the allegations and claims in this action, including, but not limited to, those

asserted against … any [] administrator or fiduciary (named or functional fiduciary) of the

Wells Fargo & Company Health Plan or its component plans.” Doc. 27. Wells Fargo has

further “agree[d] that it will be responsible for any judgment entered in this action.”

       24.    Defendant David Galloreese is a former Senior Executive Vice President and

Head of Human Resources at Wells Fargo. During his time at Wells Fargo, he was a Plan

Administrator and fiduciary of the Plan.

       25.    Defendant Michael Branca is a former Executive Vice President and Head

of Total Rewards at Wells Fargo. During his time at Wells Fargo, he was a Plan

Administrator and fiduciary of the Plan. He signed the Plan’s 2018 and 2019 Form 5500s

as the Plan Administrator.

       26.    Defendant Mark Hickman is a former Head of Benefits & Enterprise

Recognition at Wells Fargo. During his time at Wells Fargo, he was a Plan Administrator

and fiduciary of the Plan. He signed the Plan’s 2020 and 2021 Form 5500s as the Plan

Administrator.



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          27.   Defendant Drew Wineland is a Senior Vice President and Head of Human

Capital Initiatives at Wells Fargo. He is a Plan Administrator and fiduciary of the Plan.

He signed the Plan’s 2022 Form 5500 as the Plan Administrator.

          28.   Defendant Bei Ling is a Senior Executive Vice President and Head of Human

Resources at Wells Fargo. She is a Plan Administrator and fiduciary of the Plan.

          29.   Does 1 through 20 are other individuals designated as Plan Administrators

of the Plan, all of whom are fiduciaries of the Plan.

II.       JURISDICTION AND VENUE

          30.25. This Court has exclusive subject-matter jurisdiction under 29 U.S.C. §

1132(e)(1) and 28 U.S.C. § 1331 because it is an action under 29 U.S.C. § 1132. Plaintiffs

have been injured by the unlawful conduct alleged herein and have standing to bring this

action.

          31.26. Venue is proper in this district under 29 U.S.C. § 1132(e)(2) and 28 U.S.C.

§ 1391(b) because it is the district in which the Plan is administered, where at least one

alleged unlawful act took place, and where Defendants resideWells Fargo resides or may

be found.

          32.27. This Court has personal jurisdiction over DefendantsWells Fargo because

theyit administered the Plan from this State and took some or all of the actions described

herein in this State through theirits management of the Plan, which was administered from

this State. Plan documents state: “The plan administrator’s address is: Plan Administrator,

Wells Fargo & Company, MAC N9310-110, 550 S. 4th St., Minneapolis, MN 55415.”



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III.    FACTUAL AND LEGAL BACKGROUND

          A.   Prescription Drug Plan and Fiduciary Duties Under ERISA

        A.     Employer-Sponsored Health Plans

        28.    Employers are the principal source of health benefits for working-age

Americans in the United States. To provide those benefits, many employers sponsor

employee benefit plans. , including health plans.

        29.    Employer-sponsored health plans can be either “fully-insured” or “self-

funded.” When most people think of health insurance, they think of “fully-insured” health

plans. In a “fully-insured” health plan, a third-party insurance company bears the insurance

risk—i.e., it is responsible for paying all covered medical expenses incurred by the plan

participants (i.e., the employer’s employees and their families). The employer is

responsible for only a monthly premium to the insurance company, which is calculated by

the insurance company in advance based on projected plan spending. Employers often split

the monthly premium with their employees. If plan spending is unexpectedly high in a

given year, the insurance company will lose money (or make less than expected), while the

employer will be unaffected.

        30.    In a “self-funded” health plan, in contrast, the plan itself bears the insurance

risk and pays the covered medical expenses incurred by plan participants. The plan also

pays all administrative fees associated with the plan. While self-funded health plans are

typically administered by third-party insurance companies, which perform administrative

tasks like processing claims and payments, those companies are not responsible for any of

the plan’s expenses or actuarial risks. Instead, the plan’s expenses and actuarial risks are

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borne exclusively by the plan itself. Because 100% of plan expenses are paid from this

fund, any increases in plan spending must be covered by increases in contributions to the

fund.

        31.   Employers with self-funded health plans, like Wells Fargo, typically set up a

dedicated fund to pay the administrative fees and covered medical expenses incurred by

plan participants. Money for that fund comes from two sources: (1) contributions by the

employer, and (2) contributions by plan participants, which typically are deducted from

their paychecks. These amounts are referred to, respectively, as the “employer

contribution” and the “employee contribution.”

        32.   For purposes of this case, the critical feature of self-funded health plans is

that any increases in plan spending must be covered by increases in contributions to the

fund. If a self-funded health plan cuts its costs by $200 million, it will collect $200 million

less in contributions. Conversely, if a self-funded health plan imprudently overspends by

$200 million, it will need to collect $200 million more in contributions.

        B.    Prescription-Drug Plans and Fiduciary Duties Under ERISA

        33.   The vast majority of employee health plans include coverage for prescription

drugs. Broadly speaking, the prescription-drug portion of an employee health plan covers

a portion of the costs of an employee’s prescription drugs. The employee is responsible

for a portion of a monthly or bi-weekly insurance premium (and in some cases, the full

premium amount) and for the full cost of purchased prescriptions until they meet any

applicable deductible. Once the employee meets the deductible, the plan begins to cover a

portion of the cost, and the employee continues to pay either a co-pay (often a set cost) or

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co-insurance (often a percentage of the contracted amount) for each prescription. The

employee’s premium paymentscontributions are directly based on the plan’s projected

costs for the next year, which are heavily influenced by the plan’s actual costs in past years

or an actuarial projection of future costs that is heavily influenced by past costs. The

employee’s deductible, co-pay, and co-insurance amounts are set according to the plan

documents. Costs are based on the plan’s contractual arrangements with third-party service

providers, typically a combination of insurers and PBMs, who work as intermediaries

between the plan and the healthcare delivery system by negotiating on behalf of the plan

with doctors, hospitals, pharmacies, and pharmaceutical companies.

       34.    Prescription-drug plans (or the broader health care plans of which they are

often a part), like other employee welfare benefit plans established by private-sector

employers, are governed by ERISA. Congress enacted ERISA to address concerns that

employee benefit plans were being mismanaged. ERISA protects the interests of employee

benefit plan participants and their beneficiaries by establishing standards of conduct,

responsibilities, and obligations for fiduciaries of employee benefit plans. In ERISA terms,

an employer who offers a welfare plan to its employees (and, typically, its employees’

family members) is called a “plan sponsor.”

       35.    Anyone who exercises any discretionary authority or discretionary control

over the management of an employee-benefit plan, and anyone who exercises any authority

or control respecting management or disposition of the assets of an employee-benefit plan,

is a fiduciary of the plan.



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         36.   ERISA imposes strict fiduciary duties of loyalty and prudence on the

fiduciaries of employee-benefit plans, including healthcare plans and prescription-drug

plans.    The duty of loyalty requires fiduciaries to act “solely in the interest of the

participants and beneficiaries … for the exclusive purpose of: (i) providing benefits to

participants and their beneficiaries; and (ii)          defraying reasonable expenses of

administering the plan.” 29 U.S.C. § 1104(a)(1)(A). The duty of prudence requires

fiduciaries to exercise the “care, skill, prudence, and diligence” that would be expected in

managing a plan of similar scope. 29 U.S.C. § 1104(a)(1)(B). A fiduciary’s process must

bear the marks of loyalty, skill, and diligence expected of an expert in the field. Courts

have described these fiduciary duties as “the highest known to the law.”

         37.   Specifically, 29 U.S.C. § 1104(a) states, in relevant part, that:

               (1) [A] fiduciary shall discharge his duties with respect to a
                   plan solely in the interest of the participants and
                   beneficiaries and—

                      (A) for the exclusive purpose of:

                             (i) providing benefits to participants and their
                             beneficiaries; and
                             (ii) defraying reasonable expenses of
                             administering the plan;

                      (B) with the care, skill, prudence, and diligence under
                      the circumstances then prevailing that a prudent man
                      acting in a like capacity and familiar with such matters
                      would use in the conduct of an enterprise of a like
                      character and with like aims.

         38.   Under ERISA, fiduciaries must act prudently and for the exclusive benefit of

participants and beneficiaries in the plan when they select service providers for the plan.


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Fiduciaries must conduct an independent investigation and consider alternatives when

initially selecting service providers, and must continue to monitor and critically review the

performance and cost of such service providers after they are appointed. The common law

of trusts, which informs ERISA’s fiduciary duties, emphasizes the duty to avoid

unwarranted costs. The Restatement (Third) of Trusts explains, “[i]mplicit in a trustee’s

fiduciary duties is a duty to be cost-conscious.”

       39.    Fiduciaries must also ensure that their agreements with service providers and

the amounts they pay to those service providers are reasonable.            Fiduciaries must

continuously monitor plan expenses to ensure that they remain reasonable and appropriate

under the circumstances. Fiduciaries of large plans like the Wells Fargo Plan also cannot

ignore the power their plans wield to obtain favorable rates.           Put simply, wasting

beneficiaries’ money is imprudent.

       40.    Fiduciaries cannot discharge their fiduciary duties simply by relying on the

advice of third-party service providers, consultants, or experts. As the Restatement

explains, “[a]fter obtaining advice or consultation, the trustee can properly take the

information or suggestions into account but then … must exercise independent, prudent,

and impartial fiduciary judgment on the matters involved.”          Fiduciaries also cannot

discharge their fiduciary duties simply by relying on the advice of third-party service

providers, consultants, or experts who have conflicts of interest that may prevent them from

providing advice solely for the benefit of the plan.

       41.    ERISA’s fiduciary duties are supplemented by an extensive list of

transactions that are strictly prohibited and considered per se violations of ERISA because

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they entail a high potential for abuse. To ensure that plan assets are not wasted through

irresponsible contracting practices, Congress presumptively prohibited all exchanges of

property between an ERISA plan and a third-party service provider, all furnishing of

services between an ERISA plan and a third-party service provider, and all transfers of

assets from an ERISA plan and a third-party service provider (referred to as a “party in

interest”).

       42.     Specifically, 29 U.S.C. § 1106(a)(1) states, in relevant part, that:

               [A] fiduciary with respect to a plan shall not cause the plan to
               engage in a transaction, if he knows or should know that such
               transaction constitutes a direct or indirect –

                         (A) sale or exchange, or leasing, of any property
                         between the plan and a party in interest; [or]
                         ***
                         (C) furnishing of goods, services, or facilities between
                         the plan and a party in interest;
                         (D) transfer to, or use by or for the benefit of a party in
                         interest, of any assets of the plan.

       43.     These presumptively prohibited transactions become permissible only if the

plan fiduciary can demonstrate the applicability of one of the exemptions in 29 U.S.C. §

1108, which constitute affirmative defenses to a claim that a plan fiduciary has engaged in

a prohibited transaction. Generally speaking, a contract between a plan and a third-party

service provider will not be exempt from the list of prohibited transactions unless the plan

fiduciary can demonstrate that the compensation the plan agreed to pay the third-party

service provider is “reasonable” and that the plan fiduciary obtained extensive disclosures

from the third-party service provider before entering into the contract, to protect against

conflicts of interest.

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       44.    A plan fiduciary who breaches his or her fiduciary duties or engages in a

prohibited transaction is personally liable for the relief specified in 29 U.S.C. § 1109(a),

which provides:

              Any person who is a fiduciary with respect to a plan who
              breaches any of the responsibilities, obligations, or duties
              imposed upon fiduciaries by this subchapter shall be personally
              liable to make good to such plan any losses to the plan resulting
              from each such breach, and to restore to such plan any profits
              of such fiduciary which have been made through use of assets
              of the plan by the fiduciary, and shall be subject to such other
              equitable or remedial relief as the court may deem appropriate,
              including removal of such fiduciary.

       45.    In addition to the remedies expressly identified, a plan participant or

beneficiary may also obtain injunctive relief, fiduciary surcharge, and other remedies, as

appropriate, from a plan fiduciary who breaches his or her fiduciary duties, as well as

attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g).

       B.C. Management and Administration of Prescription-Drug Plans

       46.    When a person with prescription-drug insurance goes to hertheir pharmacy

to buy a prescription drug, that person makes a claim on hertheir prescription-drug plan. If

the person has yet to meet an applicable deductible, she isthey are responsible for the full

cost of the drug at plan rates. Once she hasthey have met hertheir annual deductible or no

deductible applies, the plan often covers some or all of the drug’s cost.

       47.    Prescription-drug transactions work as follows: The pharmacist sends a

query to the insured’s prescription-drug plan, which more or less instantaneously (i.e. while

the insured is at the pharmacy counter) determines whether the drug is covered under the

insured’s plan. The plan communicates to the pharmacy whether the claim was approved

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or denied and the cost of the prescription when using the plan. If the claim is approved, the

pharmacy is informed of the cost of the prescription including any co-pay or co-insurance

amount required from the insured. The pharmacy then collects the co-pay or co-insurance

based on the information provided and dispenses the drug. In a later transaction, the

prescription-drug plan pays the remainder of the drug’s cost to the pharmacy, at a rate

negotiated between the plan and the pharmacy.

       48.    To provide prescriptions for plan members, a prescription-drug plan’s

fiduciaries (either directly or through a designated representative) generally must negotiate

rates with a network of pharmacies at which its participants and beneficiaries may obtain

prescription drugs; maintain a list of prescription drugs (called a formulary) that will be

covered by the plan; maintain a framework to determine how the cost of those drugs will

be shared between the plan and its participants/beneficiaries; process prescription-drug

claims when participants/beneficiaries are at the pharmacy counter; and reimburse

pharmacies for the plan’s portion of the negotiated rates.

       49.    The list of prescription drugs that are covered by a prescription-drug plan is

called a “formulary.” The formulary is analogous to a commercial health plan’s list of

covered procedures: just as a commercial health plan will provide different levels of

coverage (or no coverage) depending on the specific medical procedure at issue, a

prescription-drug plan will provide different levels of coverage (or no coverage) depending

on the specific prescription drug at issue. Formularies are typically divided into multiple

tiers—for example, a typical formulary includes several tiers that impact the participant’s

cost according to the tier designation. Lower tiers often have either a small fixed copay or

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a limited coinsurance progressing to the specialty tier, typically involving 20% or more in

cost-sharing from plan participants. Examples of tiers with applicable cost sharing include

preferred generic, non-preferred generic, preferred brand, non-preferred brand, and

specialty.

       50.    A generic drug is a pharmaceutical drug that contains the same chemical

substance as a drug that was originally protected by chemical patents and sold under a

brand name. As the Food and Drug Administration explains, “generic medicines work in

the same way and provide the same clinical benefit and risks as their brand-name

counterparts. A generic medicine is required to be the same as a brand-name medicine in

dosage, safety, effectiveness, strength, stability, and quality, as well as in the way it is

taken. Generic medicines also have the same risks and benefits as their brand-name

counterparts.” Generics tend to be significantly lower-priced because they are produced by

multiple competing manufacturers.

       51.    Formularies are powerful tools for plan fiduciaries to control the plan’s

prescription-drug costs. For example, when a lower-priced generic version of a drug

becomes available, a prudent fiduciary will add the generic to its formulary and either

remove the brand-name drug or disincentivize its use., in order to reduce costs. This will

result in beneficiaries receiving the lower-priced generic instead of the expensive (but

chemically identical) brand-name drug, which in turn will lower costs for the plan.

       52.    Other aspects of administering a prescription-drug plan also offer cost-saving

opportunities for prudent plan fiduciaries. For example, a prudent fiduciary will negotiate

favorable drug prices and will implement systems to process claims efficiently and cheaply.

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A fiduciary of a sufficiently large plan like the Wells Fargo Plan is also in a position to

extract financial concessions from a drug manufacturer (often termed “rebates”) in

exchange for agreeing to include the manufacturer’s drugs on its formulary and/or in a

preferred tier on its formulary.

       C.D. Pharmacy Benefit Managers

              1.     General Background on PBMs

       52.53. Many plan fiduciaries contract with third parties to help manage and

administer the prescription-drug portion of their health plans. These third parties are called

“pharmacy benefit managers” or, for short, “PBMs.” PBMs offer various services to

prescription-drug plans, including negotiating with pharmacies to establish pharmacy

networks where plan participants and beneficiaries can obtain prescription drugs; helping

manage plans’ formularies; processing participants/beneficiaries’ claims in real-time; and

contracting with drug manufacturers to secure price reductions or other financial

considerations.

       53.54. As a general matter, the PBM handles the day-to-day management of its

clients’ prescription drug programs and serves as the middleman between the benefits plan

and network pharmacies. Accordingly, when a plan participant or beneficiary obtains a

prescription drug from a pharmacy, the PBM pays the pharmacy for the cost of the drug

(less the participant/beneficiary’s out-of-pocket responsibility) and then, in a later

transaction, collects payment from the plan. As noted in more detail below, however, the

PBM may attempt to collect more money from the plan than it paid to the pharmacy,

pocketing the difference.

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       54.55. PBMs are service providers to prescription-drug plans. They are profit-

driven entities that seek to profit from their intermediary role in the prescription-drug

ecosystem. The largest PBMs are owned by publicly-traded companies and accordingly

owe fiduciary duties to their shareholders to maximize their own profits. As discussed in

more detail below, many PBMs are also part of vertically integrated companies that create

obvious conflicts of interest and incentivize them to take actions that are not in the best

interest of their plan clients.

       55.56. There are two dominant pricing models for PBMs. As described below,

“traditional” PBMs typically make their money through a combination of spread pricing,

rebates, and owning their own pharmacies, as described below.. In contrast, “pass-

through” PBMs typically make their money only through administrative fees. They do not

engage in spread pricing, they pass through the full amount of any negotiated rebates to

their client plans, and they do not own pharmacies.

               2.      Traditional PBM Model

       56.57. In the traditional PBM model, the prices that a prescription-drug plan pays

for prescription drugs are determined in negotiations between plan fiduciaries and the

PBM. Those prices can be determined in any number of ways, limited by only the parties’

willingness to transact.

       57.58. One way that some plan fiduciaries and PBMs structure their agreements is

to set prices for groups of drugs by reference to a specific benchmark price, rather than

negotiating a separate price for each drug.



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       58.59. One benchmark is called the National Average Drug Acquisition Cost

(“NADAC”). The federal government’s Centers for Medicare and Medicaid Services

(“CMS”) uses survey data to determine pharmacies’ average “acquisition cost” for many

prescription drugs. The “acquisition cost” is the amount that the average pharmacy pays

to acquire prescription drugs from wholesalers. A prescription drug’s NADAC is a widely-

accepted and frequently-updated benchmark that describes the average price that

pharmacies pay to acquire that drug.

       60.    NADAC is commonly used by other plans as a benchmark for the prices they

pay for prescription drugs. For example, the PBM Capital Rx charges NADAC prices as a

benchmark for the prices it charges its plan clients and does not engage in any additional

spread pricing. Its clients simply pay NADAC prices and a small pharmacy dispensing fee.

Similarly, even Express Scripts offers a “ClearNetwork” product with prices to plans based

on the lowest of three benchmarks, one of which is NADAC. This shows that NADAC is

not only a commonly-used benchmark, but a conservative one, as the ClearNetwork

product’s prices are based on the lower of NADAC and two other benchmarks. Similarly,

Cost Plus Drug Company charges customers its acquisition cost plus a 15% markup, with

no spread pricing or other hidden fees.

       59.61. Another benchmark is called the “Average Wholesale Price” or “AWP.” In

theory, the AWP is another benchmark that describes the average price that pharmacies

pay to acquire that drug from wholesalers. In reality, however, as is widely understood by

prudent plan fiduciaries, AWP is not a true representation of actual market prices for either

generic or brand drug products, is highly manipulable by manufacturers and wholesalers,

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and often bears little to no relation to a pharmacy’s actual acquisition costs. (A common

joke among insiders in the industry is that AWP stands for “Ain’t What’s Paid.”) The

difference between the AWP and a pharmacy’s actual acquisition costs can be substantial,

and sometimes arbitrarily so. Researchers have found several examples in which the AWP

for a drug was 50, 70, or even 100 times higher than the drug’s actual cost to pharmacies.

      60.62. Plan fiduciaries that decide to use a traditional PBM may negotiate a bundled

price, relative to a benchmark, for all generic drugs; a bundled price, relative to a

benchmark, for all brand-name drugs; and a bundled price, relative to a benchmark, for all

“specialty” drugs. For example, a plan may agree to pay its PBM “AWP minus 85%” for

generic drugs, “AWP minus 20%” for brand drugs, and “AWP minus 15%” for “specialty”

drugs. These prices might vary further based on whether the prescription is for a 30-day

supply or a 90-day supply or based on other factors, including whether the prescription is

filled at the PBM’s own pharmacy. These prices are negotiable between the traditional

PBM and the plan fiduciaries.

      61.63. Critically, however, the prices the plan agrees to pay its traditional PBM for

a prescription need not bear any relation to the price the PBM will pay the pharmacy for

the same prescription. Any difference between those two amounts is known as the

“spread.”

      62.64. The “spread” can be a major revenue stream for traditional PBMs. “Spread

pricing” is when a PBM negotiates a price with pharmacies that is lower than the price it

charges the prescription-drug plan, and then pockets the difference. For example, a PBM

may negotiate with a pharmacy for a price of $17 for each prescription of a certain drug,

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but then may try to separately negotiate with the plan fiduciaries for a price of $20 for that

same drug. The $3 “spread” between these two negotiated rates represents profit for the

PBM, at the expense of the plan and its participants and beneficiaries. As an example of

how this works in practice, a participant or beneficiary filling this prescription might pay a

$5 co-insurance amount to the pharmacy. The PBM would then pay the pharmacy $12

more, satisfying the PBM’s agreement to pay the pharmacy $17 for the prescription. The

PBM would then bill the plan the remaining $15 (the $20 negotiated price minus the $5

patient co-insurance). The result for the PBM in the arrangement is that it received $15

from the plan but paid only $12 to the pharmacy, netting a $3 spread.




       63.65. For generic drugs, there is often an especially pronounced disconnect

between an AWP-based price paid by a plan and its participants/beneficiaries to the PBM

and the price then paid by the PBM to a pharmacy. This is because the prices that PBMs

pay to pharmacies for generic drugs are generally not based on AWP. Instead, PBMs pay

pharmacies for generic drugs based on prices listed on the PBM’s proprietary “Maximum

Allowable Cost” or “MAC” list. A “MAC” list is a PBM-generated list that includes the
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maximum amount the PBM will pay a pharmacy for generic drugs. PBMs have essentially

free reign to determine their own pricing methodologies for their MAC lists, so long as the

prices are not so low that pharmacies will refuse to do business or refuse to stock a drug.

One recent study observed that “proprietary PBM prices (i.e., maximum allowable cost, or

MAC) were … highly variable and disconnected from the manufacturer or pharmacy

established price for the medication.”       PBMs may also have different MAC lists

corresponding to different pharmacies (e.g., the MAC prices may be far higher at the

pharmacies they own) and different payers.

       64.66. Traditional PBMs engaging in spread pricing try to exploit the disconnect

between the prices they receive from plans and the prices they pay to pharmacies, pocketing

the difference between the two prices. Because of this dynamic (and also for other

reasons), it is imperative that the plan fiduciaries actively monitor PBMs and their pricing,

and minimize any excess costs or spread. Prudent fiduciaries minimize or eliminate spread.

       65.67. Traditional PBMs benefit the most when plan participants and beneficiaries

are prescribed drugs with the highest cost to the plan relative to the actual drug acquisition

cost, as this maximizes the “spread” retained by the PBM. PBMs in such an arrangement

are financially motivated not to make formulary decisions based on which drugs have the

lowest cost to the plan and its participants and beneficiaries, but rather based on which

drugs allow them to pocket the largest spread. Prudent fiduciaries therefore closely

supervise their formularies and carefully negotiate their payment structures to ensure that

PBMs are not acting based on considerations that run contrary to the interests of the plan

and its participants and beneficiaries.

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       66.68. Because of the pronounced disconnect between AWP and acquisition cost

for generic drugs, many prudent fiduciaries negotiate generic pricing based on NADAC

instead of with reference to AWP.        These fiduciaries negotiate either a fixed, pre-

determined price for each drug derived from each drug’s NADAC, or a broadly applicable

formula based on NADAC. Basing prices on NADAC rather than AWP reduces overall

spending on generic drugs, limits spread pricing, and eliminates the variability in pricing

inherent in AWP-based pricing models. Instead of agreeing to pay prices based on a

“discount” from a made-up benchmark (AWP) that does not correspond to the actual cost

of prescription drugs, prudent fiduciaries agree to pay reasonable prices based on the actual

acquisition cost of the drugs that Plan participants/beneficiaries purchase.

       67.69. There is an additional component in pricing for brand-name drugs.

Manufacturers of brand-name drugs often agree to provide plans with large discounts off

the “list price” for a brand-name drug in exchange for the plans’ promise to include that

drug on their formularies. These discounts are termed “rebates” and are generally paid by

manufacturers on a quarterly basis for all drugs purchased during the previous quarter.

Traditional PBMs collect those rebates for their plan clients, but often pocket some of the

rebate for themselves instead of passing the full amount through to their plan clients. Plans

and traditional PBMs negotiate over how much of any such rebate or price concession will

be retained by the PBM and how much will be passed through to the plan. Traditional

PBMs may attempt to denominate rebates by other names to obscure their nature and

reduce the amounts they are contractually obligated to pass on to their client plans.

Traditional PBMs may also try to hide rebates by purchasing medications from a wholly

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owned group purchasing organization (“GPO”) that itself pockets some of the rebates. Any

amount the PBM retains is revenue for the PBM.

       68.70. Prudent fiduciaries negotiate with their PBMs to minimize or eliminate any

portion of rebates or other financial concessions from manufacturers that the PBM or its

GPO retains instead of passing through to the plan. Prudent fiduciaries likewise ensure

that their PBM contract is written with sufficient precision that the PBM cannot hide or

obscure these rebates to avoid passing them through to the plan. While such rebates are

not per se unlawful, prudent fiduciaries have a responsibility to ensure that the PBM and

its affiliated entities are not receiving unreasonable compensation via such revenue sharing

arrangements at the expense of the plan and its participants and beneficiaries.

       69.71. Some traditional PBMs also earn revenue through ownership of pharmacies.

Express Scripts, for example, is vertically integrated with the mail-order pharmacy

Accredo. When PBMs own pharmacies, they may attempt to steer beneficiaries of their

clients’ prescription-drug plans to those pharmacies, including by refusing to cover

prescriptions obtained at competitors’ pharmacies. In addition, traditional PBMs may

“agree” to excessively high reimbursement rates with the pharmacies they own (i.e.,

reimbursement rates that greatly exceed the pharmacy’s actual acquisition costs)—rates

that the PBM would never agree to pay in a truly market-based transaction. Through this

arrangement, PBMs can misleadingly represent to plans that they are not engaging in

spread pricing (i.e., they can promise that they are charging the plan the same amount they

are paying the pharmacy), even though that is technically true only because the PBM

“agreed” to pay its own pharmacy excessive amounts. In reality, the mechanism is the

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same as spread pricing—i.e., the traditional PBM charges the plan far more than the drug

actually costs, and then the PBM or its affiliated pharmacy pockets the difference.

       70.72. There are several traditional PBMs in the marketplace that are capable of

providing a high level of service and that will vigorously compete to win a PBM contract

from a Fortune 50 company like Wells Fargo. To ensure that they are continuing to manage

the plan’s costs and incur only reasonable expenses, prudent fiduciaries conduct open

Request for Proposal (“RFP”) processes to obtain competitive bids for PBM services at

regular intervals and ensure that the rates and terms to which they agree continue to reflect

the best rates and terms available in light of the plan’s size, bargaining power, and other

characteristics. At a minimum, it is necessary to regularly survey the market to ensure that

the plan and its participants and beneficiaries are not paying excessive costs.

              3.     The “Pass-Through” PBM Model

       71.73. One alternative to the traditional PBM model is the “pass through” model.

The payment structure for the pass-through model is more transparent and straightforward,

and it provides plan sponsors with a reasonable alternative to traditional PBMs that offers

many advantages including reduced costs. In the pass-through PBM model, the amount

that the PBM bills the plan is equal to the amount the PBM pays the pharmacy. In this

model, the PBM does not engage in spread pricing and commits to passing through all

discounts and rebates to the plan. The pass-through PBM earns revenue based only on a

flat administrative fee it charges to the plan, usually assessed on a per-member, per-month

basis (similar to a per-head fee for recordkeeping services to a retirement plan). Pass-

through PBMs typically base their costs on actual pharmacy acquisition costs. Pass-through

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PBMs still negotiate for rebates and discounts from manufacturers, and they pass those

rebates and discounts through to their clients instead of keeping them for themselves. This

keeps incentives aligned. The amounts of rebates and discounts that many pass-through

PBMs pass through to their clients are comparable, and often higher than, the amounts of

rebates and discounts that traditional PBMs pass through to their clients.

       72.74. Because pass-through PBMs do not benefit from rebates or spread pricing,

they have no incentive to favor drugs on any factor other than what is in the best interest

of the plan and its participants and beneficiaries. Whereas a PBM using the traditional

model is inherently incentivized to select drugs with higher rebates and/or that allow for

higher spreads—even if those drugs have higher net costs for the plan—pass-through

PBMs have no such incentives or conflicts of interest.

       73.75. Using a pass-through PBM does not negatively affect the patient experience

compared to a traditional PBM, and in many cases improves the experience. Most pass-

through PBMs have network agreements with many or all major pharmacies, allowing plan

beneficiaries to obtain their prescriptions from a wide range of pharmacies, including most

or all of the pharmacies that are in-network for traditional PBMs. For example, the pass-

through PBM Navitus has network agreements with CVS, Walgreens, Walmart, Rite Aid,

Giant, Stop & Shop, Wegman’s, Publix, Kroger, Costco, and many others. Similarly, the

pass-through PBM Capital Rx “maintains a national network of more than 65,000

pharmacies, including all national chains and most independent pharmacies.” Pass-through

PBMs also partner with mail-order pharmacies, including for specialty drugs, that can



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provide plan participants and beneficiaries with the same (or greater) level of convenience

as a traditional PBM’s mail-order pharmacy.

       74.76. Pass-through PBMs are able to obtain the same drugs from manufacturers as

traditional PBMs. Any plan that wants to include or exclude any specific prescription drug

on its formulary can do so with either a pass-through PBM or a traditional PBM. Pass-

through PBMs also offer the same types of services—and, if anything, more personalized

services—than traditional PBMs.

       75.77. There are numerous pass-through PBMs in the marketplace that are capable

of providing a high level of service and will vigorously compete to win a PBM contract

from a Fortune 50 company like Wells Fargo. To ensure that they are continuing to manage

the plan’s costs and incur only reasonable expenses, prudent fiduciaries conduct open RFP

processes to obtain competitive bids for PBM services at regular intervals from both

traditional PBMs and pass-through PBMs, and also ensure that the rates and terms to which

they agree continue to reflect the best rates and terms available in light of the plan’s size,

bargaining power, and other characteristics. At a minimum, it is necessary to regularly

survey the market, including pass-through PBMs, to ensure that the plan and its participants

and beneficiaries are not paying excessive costs.

       76.78. Prudent fiduciaries choose carefully among PBMs, analyzing multiple

PBMs’ offerings to decide which PBM and which payment model will be most beneficial

and most cost-effective for the plan. Prudent fiduciaries also negotiate favorable terms

with PBMs and continually supervise their PBM’s actions to ensure that the plan is

minimizing costs and maximizing outcomes for beneficiaries. Prudent fiduciaries retain

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sufficient control over their plans’ formularies to prevent the PBM from making formulary

decisions that serve the PBM’s interests but not the plan’s interests. Prudent fiduciaries

also periodically attempt to renegotiate their PBM contracts, conduct marketplace surveys,

and/or conduct an open RFP process to solicit proposals from other PBMs and ensure that

they have the best possible deal for the plan and plan participants/beneficiaries.

       D.E. Brokers and Consultants

       77.79. Many plan sponsors hire consultants and/or brokers to assist them with

soliciting bids from, selecting, and negotiating with a PBM. A plan sponsor’s broker may

serve as the broker for a range of the plan sponsor’s vendor agreements but recommend

that the plan sponsor hire a consultant (usually one affiliated with the brokerage) to assist

specifically with the PBM selection process. For simplicity, consultants and brokers

together are referred to here as “employee benefit consultants” (“EBCs”).”) or “PBM

reseller coalitions.” EBCs are service providers to prescription-drug plans. They are

profit-driven entities that seek to profit from their intermediary role in the prescription-

drug ecosystem.

       78.80. Some EBCs, while purporting to act in the interest of their client ERISA

plans, are in fact being paid by PBMs in ways that incentivize them to act against the plan’s

interests. For example, PBMs may promise to pay an EBC a commission on every

prescription if the EBC recommends the PBM to its client plans. As one media outlet

reported, “[c]onsulting firms can collect at least $1 per prescription from the largest PBMs,

according to more than a dozen independent drug benefits, consultants, and attorneys

involved with employers’ PBM contracts. That can go as high as $5 per prescription in

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extreme cases, three of those people said. Consulting firms and brokerages may receive a

certain dollar amount for each covered employee and member. Or they may share in the

rebates that the PBMs pluck from pharmaceutical manufacturers — money that otherwise

could be used by employers to lower premiums for their workers.” Bob Herman, ‘It’s

beyond unethical’: Opaque conflicts of interest permeate prescription drug benefits,

STAT+ (June 20, 2023) (emphasis added), https://www.statnews.com/2023/06/20/pbms-

consulting-firms-investigation/.

       79.81. According to one report, an EBC managing an RFP process refused to allow

a PBM to even enter a bid for a plan’s contract unless the PBM agreed to pay the EBC

$6.50 per prescription. In an apparent attempt to hide the payment, the EBC asked the

PBM to mail the payments quarterly to a PO box in another state.

       80.82. Industry experts have warned that many EBCs or brokers “not only give bad

advice to the employer that’s in the broker’s self-interest, but the broker also allows the big

PBM to write crazy terms into a contract.”

       81.83. Some EBCs, while purporting to manage an open RFP process for their client

prescription-drug plans, will refuse to solicit bids from PBMs that decline to offer the EBC

kickbacks or other forms of indirect compensation.

       82.84. Prudent fiduciaries ensure that any EBC they hire to help them select and

negotiate with a PBM does not have conflicts of interest that would prevent it from offering

objective advice to the plan and operating a truly open RFP process. Prudent fiduciaries

would not hire an EBC who was receiving kickbacks or other forms of compensation from

the PBM it was assisting in selecting or negotiating with, or who would refuse to solicit

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bids or accept offers from PBMs who were not paying kickbacks or providing other forms

of compensation. As one media outlet put it, “[e]mployers … may be neglecting their legal

duty by not asking their consultants and brokers to disclose all the sources of their revenue.”

       83.85. Prudent fiduciaries exercise—and are required to exercise—independent,

prudent, and impartial fiduciary judgment even on matters for which they receive advice

from EBCs.

       84.86. Section 202 of the 2021 Consolidated Appropriations Act prohibits covered

plans from entering into a contract, renewal, or extension of services for the plan with

“covered service providers,” which includes EBCs, without first requiring the covered

service provider to disclose, in writing, any and all direct and indirect compensation in

excess of $1,000 it receives for providing services to the plan. A covered plan’s failure to

obtain the required disclosures from a covered service provider under Section 202 makes

its contract with that service provider a prohibited transaction under ERISA. Prudent

fiduciaries obtain the required disclosures from their EBCs and ensure that the disclosures

are sufficiently clear and unambiguous, and that no conflict of interest exists, before

entering into, renewing, or extending their contract.

       E.F.   Specialty Drugs

       85.87. Some drugs, whether brand or generic, are classified as “specialty” drugs.

As originally envisioned, the “specialty” designation referred to expensive branded drugs

used to treat complex or rare chronic conditions, required special handling or care, and

historically were available only at hospitals, doctors’ offices, or specialty pharmacy



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       90.    The classification of a drug as a “specialty” drug can have a major impact on

the price the plan will be required to pay for that drug because, as suggested in the pricing

example above, many plans agree to pay traditional PBMs rates for “specialty” drugs that

are higher (i.e., have a lower discount from AWP) than the prices they pay for non-specialty

drugs. Because there is no definitive set of objective factors to determine whether any

given drug is a specialty drug, the classification of a drug as “specialty” can be the subject

of negotiations between plan fiduciaries and PBMs, as well as the relative roles of the plan

fiduciaries and the PBM in making those classification decisions.

       91.    Many traditional PBMs are vertically integrated with their own mail-order

“specialty” pharmacies. For example, the PBM CVS Caremark owns CVS Specialty, the

PBM Express Scripts owns Accredo, and the PBM OptumRx owns Optum Specialty

Pharmacy. These “specialty” pharmacies are typically mail-order pharmacies that do not

provide the kind of in-person support that a medical professional would offer at a

traditional specialty pharmacy.     Instead, the defining feature of these PBM-owned

“specialty” pharmacies is merely (and circularly) that they dispense the drugs that the PBM

itself deems “specialty.”

       88.92. An arrangement in which a plan’s members are incentivized or required to

obtain specialty drugs only from the PBM’s own pharmacy provides powerful incentives

for PBMs to designate generic drugs as “specialty” drugs and/or to inflate the prices of

specialty drugs. The PBM’s costs are limited to its pharmacy’s actual acquisition cost of

the drug from the wholesaler (which is typically even lower than the MAC price), and yet



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it can continue to charge the plan the high AWP-based price designated for “specialty”

drugs.

         93.    This model also incentivizes traditional PBMs to favor generic “specialty”

drugs with higher AWPs relative to their actual acquisition costs. If two similar generic

“specialty” drugs cost roughly the same for the PBM’s pharmacy to acquire, the PBM will

be incentivized to favor the one with a higher AWP, as that will maximize the spread

between the AWP-based price it receives from the plan and its actual acquisition cost. The

PBM thus might include only the drug with the higher AWP on its formulary, forcing the

plan and its participants/beneficiaries to pay more but offering no benefit other than profit

for the PBM.

         89.94. “Specialty” drugs can be a major driver of costs for a prescription-drug plan.

While specialty drugs make up a relatively small percentage of overall prescriptions, they

typically account for more than 50% of a prescription-drug plan’s overall spending.

Prudent fiduciaries will therefore be extra careful to negotiate favorable contract terms

regarding specialty drugs to avoid paying excessive amounts for specialty drugs, closely

manage their specialty drug expenditures, closely supervise their PBMs’ treatment and

designation of specialty drugs, and make changes to their prescription-drug plans as

necessary to fulfill their fiduciary obligations.

         90.95. Some PBMs offer services focused specifically on specialty drugs. In this

kind of arrangement, a plan uses a traditional PBM for most of its prescription-drug needs,

but carves out management of all specialty drugs to a specialty-focused PBM. In the

specialty PBM carve-out model, responsibility for the entire specialty benefit is carved out

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to a PBM with a focus on, and expertise in, management of specialty drugs. These specialty

PBMs—who typically use the pass-through model—can incorporate all aspects of

specialty drug management, including claims processing, specialty formulary, and

specialty pharmacy network management. Specialty carve-out PBMs do not need to own

a specialty pharmacy and have no financial incentive to artificially promote greater or more

expensive drug use—and, as a result, offer substantial savings to plans and their

participants/beneficiaries. Many large companies use the specialty carve-out model for

their prescription-drug plans. For example, DuPont carved out specialty drugs from its

contract with CVS Caremark, and it contracted with the pass-through PBM Archimedes to

manage its specialty-drug program. Similarly, Signet Jewelers carved out specialty drugs

from its contract with the traditional PBM OptumRx and contracted with Archimedes to

manage its specialty-drug program.

       91.96. Plan fiduciaries must be cognizant of PBMs’ self-interest in maximizing their

own profits, and not simply accede to PBMs’ preferences without conducting an

independent investigation or considering alternatives. For example, instead of accepting a

PBM’s request that participants/beneficiaries be steered to fill their “specialty” drug

prescriptions at the PBM’s own pharmacy, fiduciaries must consider whether

participants/beneficiaries (and the plan writ large) would be better off if they were

permitted or encouraged to fill their prescriptions at a broader range of pharmacies. Plan

fiduciaries must also engage in a prudent decision-making process with respect to whether

to carve out their specialty-drug program from their broader PBM contract.

       F.     Formulary Management – Brand vs. Generic

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         97.   When a pharmaceutical company discovers or designs a potential new drug,

it incurs significant cost in doing research, development, and clinical trials. As part of the

process, the pharmaceutical company obtains a patent for the drug. In the United States,

patents for brand-name drugs generally last 20 years. When the brand-name drug is the

only version available on the market, the price is often quite high because the

pharmaceutical company seeks to cover the cost of the research, development, and clinical

trials of the drug, and then turn a profit.

         98.   Once the patent on the brand-name drug expires, other pharmaceutical

companies may produce their own version of the drug. These versions are known as

“generic” versions. The companies that produce generic versions of a drug are able to sell

them for much less than the brand-name drug, as they did not incur any costs for research

or clinical trials. There is no limit to the number of generic versions of a drug that can be

produced, so there are often several pharmaceutical companies that will produce generic

versions of a brand-name drug. This creates competition in the market and drives prices

lower.

         99.   Prudent fiduciaries of prescription-drug plans will generally replace brand-

name drugs on the formulary when lower-cost, FDA-approved generics become available.

Alternatively, prudent fiduciaries will add the generics to the formulary at lower prices and

then incentivize plan participants and beneficiaries to obtain these lower-cost generics

instead of the more expensive brand-name drugs. As CVS’s chief medical officer has put

it, “[i]n situations where the medications are equivalent, from a medical point of view it

makes sense to do this in order to reduce cost.”

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       100.   Prudent fiduciaries are aware of the conflicts of interest that PBMs have in

making formulary decisions. The manufacturers of brand-name drugs typically pay rebates

or other financial concessions to PBMs when their drugs are included on formularies and

dispensed by the PBM’s prescription-drug plan clients. PBMs may pass some of these

rebates through to the plan, but any retained amounts represent revenue for the PBM. From

the PBM’s perspective, an expensive brand-name drug from which the PBM is paid a

rebate or other financial concession is more lucrative than a generic drug for which the

manufacturer pays no rebate or a smaller rebate. The PBMs retaining these rebates

therefore are incentivized to include higher-priced drugs on a plan’s formulary to maximize

their own profits, even when including a lower-priced drug (e.g., a generic) would be more

cost-effective for the plan. Prudent plan fiduciaries are aware of these dynamics and ensure

that formulary decisions are being made in the interest of the plan and its participants and

beneficiaries rather than third-party vendors with conflicts of interest.

IV.    DEFENDANTS WELLS FARGO BREACHED THEIRITS FIDUCIARY
       DUTIES AND OTHER OBLIGATIONS UNDER ERISA

       A.     DefendantsWells Fargo Agreed to Unreasonable Prices and Terms for
              Prescription Drugs

       92.101.       The fiduciaries of a prescription-drug plan have control over the

plan’s expenses, formulary, and choice of third-party service providers (including PBMs

and EBCs). Their control over the formulary includes which drugs will be covered by the

plan and which tier of the formulary any covered drug will be placed. The fiduciaries are

also responsible for hiring third-party service providers, for negotiating the terms of their

agreements with those third-party service providers (including drug prices), and for

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exercising continued oversight over the service providers and any aspect of the plan for

which a third-party service provider is contractually responsible.

       93.102.       These fiduciary responsibilities (and how they are carried out) have

the potential to dramatically affect the amount of money the plan pays for prescription

drugs. Accordingly, fiduciaries of prescription-drug plans must engage in a rigorous

process to manage the plan’s formulary, oversee any formulary management performed by

a third-party vendor, and ensure that the plan pays no more than reasonable amounts for

prescription drugs and in administrative fees. This is particularly true for Fortune 50

companies like Wells Fargo with tens of thousands of employees and former employees in

their plans, which have the bargaining power to obtain the most favorable terms from third-

party vendors.

       94.103.       DefendantsWells Fargo imprudently managed the Plan’s prescription-

drug program and failed to act in the best interest of participants/beneficiaries and ensure

that expenses were reasonable.

       95.104.       Defendants’Wells Fargo’s mismanagement has caused the Plan and

its participants/beneficiaries to vastly overpay for prescription drugs and has cost the Plan

and its participants/beneficiaries (including Plaintiffs) millions of dollars over the Class

Period.

       96.105.       When fiduciaries agree to overpay for prescription drugs, plan

participants—and especially the sickest ones—bear much of the burden.

       97.106.       First, plan participants may beare typically responsible for the entire

cost of covered items until they meet their deductible, and even after the deductible is met,

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typically are responsible for a co-pay or co-insurance amount. Accordingly, if plan

fiduciaries agree to inflated prices for prescription drugs, the participants/beneficiaries

receiving those drugs may be required to pay some or all of those inflated prices out of

pocket. This is true for prescription-drug plans generally and Plaintiffs and the Plan

specificallyare required to pay some or all of those inflated prices out-of-pocket. For

example, if a plan participant has not met their deductible, and the plan fiduciaries agree to

an inflated price of $100 for a drug purchased through the plan, the participant will pay the

full $100 amount, whereas the participant would pay only $20 if the plan fiduciaries secure

a price of $20. Similarly, if a plan participant is responsible for a 20% coinsurance (after

meeting their deductible), the participant’s 20% responsibility would be $20 if the plan

fiduciaries agree to a price of $100 but only $4 if the plan fiduciaries secure a price of $20.

Plaintiffs and many other class members who purchased prescription drugs through the

Plan were required to pay inflated prices out-of-pocket (i.e., at the pharmacy counter)

because Wells Fargo and its appointed Plan fiduciaries agreed to inflated prices for their

prescription drugs.

       107.   Second, a co-insurance amount is often calculated as a percentage of the pre-

rebate (gross) price, so the participant/beneficiary’s out-of-pocket responsibility ends up

being a higher percentage of the net price than stated in the plan documents. This is true

for likewise true for Plaintiffs and other class members who purchase prescription drugs

through the Plan.

       98.108.        Third, the amounts that a self-funded health plan spends on

prescription drugs directly affect the premiumspremium contributions that all plan

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members must pay for the prescription drug portion of their make to fund the plan. Self-

funded health plans. must cover 100% of the cost of their claims through contributions

from participants/beneficiaries and the sponsoring employer. Although a third-party

insurer may administer a self-funded plan, any such third-party administrator is not

responsible for any of the plan’s expenses or actuarial risks, which are borne exclusively

by the participants/beneficiaries and the sponsoring employer. Claims costs are paid

directly out of the monies deposited into the trust account by participants/beneficiaries and

their employer, with no ability to shift costs to a third party. At least 80% (and usually

more) of the premium cost for large plans like the Plan is attributable to prescription drug

outlays and other healthcare expenditures (with the remainder attributable to administrative

costs, risk or pooling charges, and reserve set asides). Accordingly, if plan fiduciaries agree

to inflated prices for prescription drugs, they passmust collect more in contributions to

cover those expenses. Indeed, the Federal Trade Commission has explicitly found that

inflated prices on to all participants   including those who did not receive any prescription

drugs   through increased premiums.         This is true for drug costs “result in higher

premiums.”     U.S. Fed. Trade Comm’n, Pharmacy Benefit Managers: The Powerful

Middlemen Inflating Drug Costs and Squeezing Main Street Pharmacies (2024) (“FTC

Report”), available at https://www.ftc.gov/system/files/ftc gov/pdf/pharmacy-benefit-

managers-staff-report.pdf; see also infra at ¶¶ 247-251 (citing other sources identifying

same causal link). This is true for prescription-drug plans generally and Plaintiffs and the

Plan specifically.



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       99.109.        ThirdFourth, employers often pass higher healthcare costs on to their

employees in the form of depressed wages. In a recent report, the Congressional Budget

Office noted that “[e]mployers’ spending on health insurance represents a large part of

their employees’ nonwage compensation, so employers generally take actions to offset

increases in health insurance spending in order to maintain their profits.” The CBO also

cited a recent study finding that increased healthcare spending by employers was

“associated with a rise in employees’ out-of-pocket costs, an increase in the use of high-

deductible health plans, and slower wage growth for employees.” UC Berkeley researchers

summarized recent academic research on this topic: “Increases in health care costs are

coming out of workers’ pockets one way or another. . . . When health care costs rise,

employers can respond in a variety of ways, such as by increasing worker premium

contributions, increasing deductibles or copayment amounts, reducing employment, or

increasing their own premium contributions while reducing or limiting wage growth

accordingly.” This is true for employers generally and, on information and belief, Wells

Fargo specifically.

       100.110.       On one or more occasions, DefendantsWells Fargo entered into and/or

renewed a contract with Express Scripts, a traditional PBM. Through that contract or those

contracts, which governed throughout all or most of the class period, Express Scripts

agreed to serve as the Plan’s PBM and DefendantsWells Fargo agreed (or caused the Plan

to agree) to various terms regarding drug prices, formulary management, pharmacy

networks, and administrative services.



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       101.111.      On information and belief, the process by which DefendantsWells

Fargo chose and/or retained Express Scripts as the Plan’s PBM was not an open RFP

process, was not otherwise diligent or consistent with the applicable fiduciary

standardstandards of care, and did not consider the full range of available options for PBM

services.

       102.112.      The standard contract that Express Scripts uses with its clients—and,

on information and belief, its contract with DefendantsWells Fargo—makes clear that the

plan sponsor and the plan fiduciaries retain “all … discretionary authority and control with

respect to the management of the Plan and plan assets.” In other words, DefendantsWells

Fargo acknowledged in theirits contract with Express Scripts that theyWells Fargo, and not

Express Scripts, havehas final say over management of the Plan and plan assets.

       103.113.      On information and belief, DefendantsWells Fargo used Aon as

theirits broker, or EBC. According to public reporting, Aon receives indirect compensation

from certain PBMs in connection with Aon’s clients’ use of those PBMs. In its SEC filings,

Aon acknowledges its receipt of indirect compensation from the companies to which it

steers its clients—compensation it refers to as “market-derived income”—and warns

investors that “this revenue may be subject to scrutiny by various regulators under conflict

of interest, anti-trust, unfair competition, conduct and anti-bribery laws and regulations.”

Accordingly, DefendantsWells Fargo allowed theirits selection of a PBM for the Plan to

be guided or managed by a broker with a conflict of interest—i.e., a financial interest in

steering DefendantsWells Fargo toward certain PBMs or including certain provisions in



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the PBM contract, in ways not necessarily correlated with the financial and other interests

of the Plan and its participants/beneficiaries.

       104.114.       The contract between DefendantsWells Fargo and Express Scripts is

not public. However, an analysis of the prices that DefendantsWells Fargo agreed to make

the Plan and its participants/beneficiaries pay for generic drugs reveals a staggering markup

from acquisition costs for those drugs, a staggering markup from the prices that would be

charged by a “pass-through” PBM, and a staggering markup from prices charged to

comparable plans by other traditional PBMs. These prices greatly exceed the prices that

any prudent fiduciary would agree to pay and are not reasonable.

       105.115.       DefendantsWells Fargo imprudently agreed to a pricing model in

which the prices the Plan and its participants/beneficiaries pay for generic drugs are based

on a discount from AWP rather than on a fixed unit-price schedule or with reference to

actual pharmacy acquisition costs (e.g. NADAC) for those drugs. Defendants’Wells

Fargo’s acceptance of this AWP-based pricing model for generic drugs resulted in the Plan

and its participants/beneficiaries paying millions of dollars more than they would have paid

under a pricing model based on pharmacy acquisition costs. Those overpayments resulted

in DefendantsWells Fargo paying Express Scripts a fee for itsgoods and services far in

excess of a reasonable fee for PBM services.

       106.116.       As described in more detail below, DefendantsWells Fargo agreed to

make the Plan and its participants/beneficiaries pay unreasonable markups above what it

costs for pharmacies to acquire those same drugs. Most of these markups represent profit

for Express Scripts and its affiliated entities, with no corresponding benefit for the Plan or

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its participants/beneficiaries. The markups to which DefendantsWells Fargo agreed are

substantially higher than what a pass-through PBM would charge and substantially higher

than what even traditional PBMs providecharge to their other clients.                Indeed,

DefendantsWells Fargo squandered theirits bargaining power and, for many drugs, agreed

to make the Plan and its participants/beneficiaries pay more than someone would pay if

they just walked into a retail pharmacy and filled the same prescription without using

insurance. Put another way, it would be more prudent for DefendantsWells Fargo to tell

employees not to use theirits insurance and instead to give them a company credit card that

the Plan was responsible for paying. This despite DefendantsWells Fargo having

significant bargaining power as a Fortune 50 company with over 200,000 employees. Had

DefendantsWells Fargo prudently negotiated and continued to monitor the terms of theirits

PBM contract with Express Scripts in light of market developments, or had

DefendantsWells Fargo conducted a prudent process to inquire as to different PBMs

(through an RFP process, market surveys, or otherwise), the Plan and its

participants/beneficiaries would have saved millions of dollars.

       107.117.      Generic drugs (including generic-specialty drugs) account for 30–

50% of overall prescription-drug spending. That makes them a significant driver of out-

of-pocket costs for plan participants/beneficiaries who are prescribed such drugs and a

significant driver of premiums for all plan participants, including participants in the Plan,

regardless of whether they themselves are prescribed such drugs.

       118.   The Plan provides its beneficiaries/participants with a document titled the

“2024 Express Scripts National Preferred Formulary for Wells Fargo.” The document

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includes what it describes as “a list of the most commonly prescribed drugs” and is “an

abbreviated version of the drug list (formulary) that is at the core of your prescription plan.”

The full formulary is not available to Plaintiffs, making the “2024 Express Scripts National

Preferred Formulary for Wells Fargo” the most comprehensive formulary that Plaintiffs

can use to conduct a holistic price analysis of drugs available under the Plan.

       119.   The National Preferred Formulary includes a list of approximately 300

generic drugs, across many drug classes, that areWells Fargo designated as “preferred

alternatives” thatand encourages participants/beneficiaries to use over both the brand-name

equivalent and other generic alternatives. Because these drugs are identified by Wells

Fargo as “preferred alternatives,” it is reasonable to believe that the prices for these drugs

are encouraged to use. more favorable to Wells Fargo than drugs that Wells Fargo excluded

from its National Preferred Formulary and did not label as “preferred alternatives.”

       108.120.       For 260 of thosethe drugs on the National Preferred Formulary,

NADAC information is publicly available, allowing a comparison between the prices

DefendantsWells Fargo agreed to make the Plan and its participants/beneficiaries pay for

a 90-day prescription of each drug and the acquisition cost of the same drug, quantity, and

dosage for the average pharmacy.

       109.121.       This comparison reveals staggering markups and unreasonable

overpayments. In total, across the 260 drugs that Defendants themselvesWells Fargo

designated as “preferred alternatives,” Defendants’Wells Fargo’s negotiated prices reflect,

on average, a markup of 114.97% above pharmacy acquisition cost. Put another way, the

total acquisition cost for one 90-day prescription of each of the 260 drugs is $40,656.02,

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but DefendantsWells Fargo agreed to prices that would result in one 90-day prescription

of each of the 260 drugs costing the Plan and its beneficiaries/participants more than twice

as much, or $87,397.29. No prudent health plan fiduciary would agree to allow the plan

or its participants/beneficiaries to pay their PBM an average 114.97% markup above

pharmacy acquisition cost. These overcharges come directly out of the pockets of Plan

participants to the extent that they pay for their prescriptions out-of-pocket (due to

deductibles, copays, etc.). And to the extent the charges are borne by the Plan as covered

expenses, the overcharges deplete the assets in the Plan which requires increased premium

contributions from Plan participants (who substantially share in paying the cost of their

insurance coverage).

       110.122.        These unreasonable markups are spread broadly across the 260 drugs.

DefendantsWells Fargo agreed to allow the Plan and its participants/beneficiaries to pay

more than a 100% markup—i.e., more than double acquisition cost—for over one-third of

the drugs that Defendants themselvesWells Fargo itself designated as “preferred

alternatives.” DefendantsWells Fargo agreed to pay more than a 50% markup for over half

of the drugs that Defendants themselvesWells Fargo designated as “preferred alternatives.”

In all, DefendantsWells Fargo agreed to allow the Plan and its participants/beneficiaries to

pay an unreasonable (more than 15%) markup for approximately three-quarters of the 260

drugs that Defendants themselvesWells Fargo designated as “preferred alternatives.”

       111.123.        These unreasonable percentage markups are spread broadly across

low-priced and high-priced drugs. If the analysis is isolated to the most expensive drugs

on the list—i.e., the 121 drugs with a pharmacy acquisition cost above $50 for a 90-day

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prescription—Defendants’Wells Fargo’s negotiated prices reflect, on average, a markup of

91.1% above pharmacy acquisition cost. Put another way, the total acquisition cost for one

90-day prescription of each of the 121 most-expensive generic drugs is $37,937.26, but

DefendantsWells Fargo agreed to prices that would result in one 90-day prescription of

each of these drugs costing the Plan and its beneficiaries/participants almost twice as much,

or $72,513.58.

       112.124.      Defendants’Wells Fargo’s overpayments are even moreespecially

pronounced for thea subset of generic drugs available under the Plan—namely, generic

drugs designated as “specialty.” Generic-specialty drugs are an important subset of

Defendants’Wells Fargo’s formulary because DefendantsWells Fargo agreed to terms

under which Plan participants/beneficiaries are required to obtain their prescriptions of

specialty drugs from Accredo, Express Scripts’ own mail-order pharmacy. This creates

obvious conflicts of interest for the PBM, which directly benefits from Plan spending on

specialty drugs and is incentivized to make the Plan and its beneficiaries/participants to

pay as much as possible for these drugs. Prudent plan fiduciaries would take extra care to

monitor this obvious conflict of interest and ensure that prices for specialty drugs remain

reasonable. DefendantsWells Fargo did not do that.

       113.125.      CMS has published a recent NADAC for 38 of the 95 generic drugs

that are covered by Wells Fargo and classified as specialty on a publicly available Express

Scripts formulary. Across those 38 drugs, Defendants’Wells Fargo’s negotiated prices

reflect, on average, a markup of 383% above pharmacy acquisition cost. Put another way,

the total acquisition cost for one 90-day prescription of each of the 38 drugs is $26,528.25,

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but DefendantsWells Fargo agreed to prices that would result in one 90-day prescription

of each of the 38 drugs costing the Plan and its participants/beneficiaries nearly five times

as much, or $128,239.77. No prudent fiduciary would agree to allow the Plan and its

participants/beneficiaries to pay their PBM an average 383% markup above pharmacy

acquisition cost, especially where the PBM itself owns the pharmacy.

       114.126.      Abacavir-lamivudine is a generic HIV antiviral drug. According to

the NADAC database, the acquisition cost for pharmacies for abacavir-lamivudine is $2.01

per tablet, or $180.90 for a 90-unit prescription. DefendantsWells Fargo, however, agreed

to make the Plan and its participants/beneficiaries pay Express Scripts $3,107.47 for each

90-unit abacavir-lamivudine prescription. This price reflects an 1,617.78% markup.

       115.127.      Abacavir-lamivudine is widely available at retail (non-specialty)

pharmacies, including Rite Aid, Walmart, ShopRite, Wegmans, Costco, Walgreens, Duane

Reade, CVS, Target, and others. The cash price (i.e., the price a person would pay if

shethey did not use insurance) for an abacavir-lamivudine prescription at every one of these

pharmacies is lower than the price DefendantsWells Fargo agreed to make the Plan and its

participants/beneficiaries pay.   While DefendantsWells Fargo agreed to a price of

$3,107.47 for each 90-day abacavir-lamivudine prescription, the same prescription is

available from Rite Aid for $123.82, Walmart for $127.32, ShopRite for $154.70,

Wegmans for $175.47, or from Cost Plus Drugs online pharmacy for $210.20. No prudent

fiduciary would agree to make its plan and participants/beneficiaries pay a price that is up

to twenty-five times higher than the price at which the drug is widely available.



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      120.132.      Fingolimod is a generic medication used to treat multiple sclerosis.

According to the NADAC database, the average acquisition cost for pharmacies for

fingolimod is $9.74 per 0.5mg capsule, or $876.60 for a 90-unit prescription.

DefendantsWells     Fargo,     however,    agreed   to   make        the   Plan   and   its

participants/beneficiaries pay Express Scripts $9,994.37 for each 90-unit Fingolimod

prescription. This price reflects an 1,040.13% markup.

      121.133.      Fingolimod is widely available at retail (non-specialty) pharmacies,

including Wegmans, ShopRite, Rite Aid, Walmart, Costco, Acme, Walgreens, Duane

Reade, CVS, Target, and other pharmacies. The cash price for a fingolimod prescription

at every one of these pharmacies is lower than the price DefendantsWells Fargo agreed to

make the Plan and its participants/beneficiaries pay to Express Scripts.            While

DefendantsWells Fargo agreed to a price of $9,994.37 for each 90-unit fingolimod

prescription, the same prescription is available from Wegmans for $648.00, ShopRite for

$677.68, Rite Aid for $891.63, Walmart for $895.63, or from Cost Plus Drugs online

pharmacy for $875.09.        No prudent fiduciary would agree to make its plan and

participants/beneficiaries pay a price that is up to twenty times higher than the price at

which the drug is widely available.




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Scripts for prices that are anywhere close to pharmacy acquisition cost. The following

table lists the 38 generic-specialty drugs for which NADAC information is publicly

available, along with a comparison between the prices DefendantsWells Fargo agreed to

make the Plan and its participants/beneficiaries pay for a 90-day supply and the acquisition

cost of the same drug, quantity, and dosage for the average pharmacy. And as shown above,

these drugs are available from many pharmacies at amounts below NADAC averages, such

that the markup shown in the chart below actually understates the extent to which the Plan

and its participants/beneficiaries paid inflated prices.




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                                                  Pharmacy     Price Wells
                                                                                  Markup
       Generic Drug Name             Quantity     Acquisition Fargo Agreed
                                                                                    %
                                                     Cost        to Pay
abacavir                                 180          $111.60       $678.26        507.76%
abacavir/lamivudine                       90          $180.90     $3,107.47       1617.78%
abiraterone acetate                       90           $82.80     $1,881.00       2171.74%
atazanavir                                90          $313.20       $601.04         91.90%
azathioprine                              90           $16.20        $38.94        140.37%
capecitabine                              84           $44.94       $691.32       1438.32%
cyclosporine                              90          $774.90     $1,026.05         32.41%
dalfampridine                             90           $45.90     $1,647.90       3490.20%
deferasirox                               90          $177.30     $3,690.00       1981.22%
dimethyl fumarate                        180          $120.60     $5,785.20       4697.01%
efavirenz                                 90          $277.20     $2,390.51        762.38%
efavirenz/emtricitabine/tenofovir
disoproxil fumarate                       90          $115.20         $7,433.99 6353.12%
emtricitabine/tenofovir disoproxil
fumarate                                  90           $49.50         $1,260.12   2445.70%
enoxaparin sodium                          1           $12.35            $19.08     54.52%
etravirine                               180        $2,889.00         $3,440.93     19.10%
everolimus                                90          $545.40         $1,337.91    145.31%
fingolimod                                90          $876.60         $9,994.38   1040.13%
fondaparinux sodium                       72        $3,854.88         $5,714.73     48.25%
glatiramer                                90       $11,846.70        $16,987.50     43.39%
ibandronate IV                             3           $11.34            $65.36    476.37%
imatinib                                  90          $169.20         $8,199.00   4745.74%
lamivudine                                90           $76.50           $286.14    274.04%
lamivudine/zidovudine                     90           $72.00           $477.61    563.35%
mycophenolate mofetil                     90           $25.20            $60.09    138.45%
mycophenolic acid                         90           $16.20           $265.14   1536.67%
nevirapine                                90           $12.60            $17.03     35.16%
nevirapine ER                             90          $386.10         $1,325.36    243.27%
octreotide acetate                        15          $138.00           $158.67     14.98%
ribavirin                                 90           $61.20            $84.06     37.35%
ritonavir                                 90           $89.10           $618.67    594.35%

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Walgreens, and $1,217.80 at Cost Plus Drugs. DefendantsWells Fargo agreed to make the

Plan and its participants/beneficiaries pay $2,784.06.

       130.142.      A 90-day supply of betaine powder (generic for Cystadane) is

available for a cash price of $742.04 at Wegmans, $1,315 at Walgreens, $1,193 at Rite Aid,

and $1,784 at CVS.         DefendantsWells Fargo agreed to make the Plan and its

participants/beneficiaries pay $4,438.24.

       131.143.      A 300-tablet prescription of tiopronin (generic for Thiola) is available

for a cash price of $1,208 at Wegmans, $2,142 at Walgreens, $2,260 at CVS, and $1,939

at Rite Aid.         DefendantsWells Fargo agreed to make the Plan and its

participants/beneficiaries pay $7,862.75. To repeat: if a Plan participant or beneficiary fills

a prescription for tiopronin at Walgreens and does not use their insurance, Walgreens will

charge only $2,142. But if they fill the exact same prescription at the exact same Walgreens

and use their Wells Fargo health insurance, Wells Fargo agreed to make them and the

Plans pay a combined $7,165.

       132.144.      For many or most of the generic-specialty drugs on the Plan’s

formulary, there is no medical necessity for that designation. As shown above, most of

these drugs are available at traditional retail pharmacies, do not require handling that

traditional retail pharmacies are unable to provide, and do not require the kinds of medical

services traditionally provided by specialty pharmacies. For many or most of the generic-

specialty drugs on the Plan’s formulary, no special handling is provided by the pharmacies

at which Plan beneficiaries obtain generic-specialty drugs, including at Accredo, which is



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owned by Express Scripts. The “specialty” designation serves little purpose other than to

enrich Express Scripts at the expense of the Plan and its participants/beneficiaries.

         145.   The Plan’s extraordinarily high prices for generic drugs purchased through

the Plan are not offset by special discounts from Express Scripts for other kinds of drugs.

         146.   First, while Wells Fargo has claimed that there are “thousands” of drugs

covered by the Plan, most of those supposed “thousands” are simply different dosages or

delivery forms (e.g. tablet vs. capsule) of the same drugs already discussed. Accordingly,

the above price comparison of the 260 drugs on the National Preferred Formulary applies

equally to the hundreds or thousands of alternative dosages or delivery forms of those same

drugs.

         147.   Second, Wells Fargo itself describes the 260 drugs on the National Preferred

Formulary as “the most commonly prescribed drugs” under the Plan, meaning that these

drugs have an outsized impact on overall Plan and participant/beneficiary spending.

         148.   Third, Wells Fargo’s prices for brand-name drugs are no better than industry

standard. Plaintiffs analyzed Wells Fargo’s prices for the 50 most common high-cost

brand-name drugs (including Humira, Ozempic, Trulicity, and many more),

Defendantsand found that Wells Fargo agreed to prices that are roughly equivalent to

pharmacy acquisition cost for those drugs. These prices are generally consistent with

market pricing, and do not reflect special discounts that would offset or justify the atypical

and extraordinary overcharges for generic specialty drugs under the Plan. Defendants’




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       133.149.      Wells Fargo’s failure to act prudently in negotiating the prices of

generic drugs has cost the Plan and its participants/beneficiaries millions of dollars each

year, which has not been offset by any corresponding discounts on other drugs.

       B.     DefendantsWells      Fargo     Imprudently     Agreed            to     Steer
              Participants/Beneficiaries Toward Higher Prices

       134.150.      DefendantsWells        Fargo      agreed      to      require       Plan

beneficiaries/participants to obtain all prescriptions of specialty drugs from Express

Scripts’ mail-order pharmacy, Accredo, even though Accredo’s prices are routinely higher

than the prices retail pharmacies charge for the same drugs. On information and belief,

this resulted from Defendants’Wells Fargo’s lack of oversight of Express Scripts and lack

of attention to the ways in which it would attempt to enrich itself and its own pharmacy at

the Plan’s expense.     A prudently administered plan would steer participants and

beneficiaries toward the option with a lower overall price, or at least would not require

beneficiariesthem to obtain their prescriptions from a higher-priced pharmacy owned by

the Plan’s PBM.

       135.151.      “Steering” refers to various methods by which health plans typically

incentivize their participants/beneficiaries to obtain medical care (including prescription

drugs) from lower-cost and higher-quality providers. For example, health plans might offer

their participants/beneficiaries lower co-pays or lower co-insurance percentages if they use

lower-cost providers who offer the same or better-quality services than higher-cost

providers. Alternatively, health plans might remove a particular provider or pharmacy

from their networks if that provider or pharmacy charges above-market prices.


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       136.152.           Extensive research demonstrates that steering can significantly reduce

the cost of healthcare for health plans and their participants/beneficiaries. For prescription

drugs, these savings result for two principal reasons.               First, steering causes more

participants/beneficiaries to obtain prescriptions from lower-cost pharmacies when they

might otherwise have selected a higher-cost pharmacy, which reduces their out-of-pocket

expenditures,     their     health    plan’s   expenditures,   and     the   premiums   for   all

participants/beneficiaries.          Second, steering—and the threat of steering—places

competitive pressure on higher-cost pharmacies to lower their prices. Pharmacies are

motivated to have health plans steer towards them (or at least not to steer away from them)

because of the increased patient volume that steering generates for the pharmacies to whom

patients are steered (and the decreased volume for pharmacies patients are steered away

from). Thus, the ability of health plans to steer gives pharmacies a powerful incentive to

be as efficient as possible, maintain low prices, and offer high quality and innovative

services. Health plans and their participants/beneficiaries benefit tremendously from this

because they can lower their healthcare expenses.

       137.153.           Defendants haveWells Fargo has done the opposite. For generic-

specialty drugs, instead of steering participants/beneficiaries toward lower-priced

pharmacies, Defendants requireWells Fargo requires the Plan’s participants/beneficiaries

to obtain their prescriptions from the higher-priced pharmacy owned by Express Scripts,

which is Accredo. According to Plan documents, specialty medications are “not covered”

at any retail pharmacy and instead are “only covered through Accredo specialty pharmacy

delivery.” Plan documents further state that “Specialty medications must be filled through

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Accredo, your specialty pharmacy.” Plan participants/beneficiaries therefore cannot use

their insurance to obtain specialty drugs anywhere other than Accredo. This lack of choice

constitutes a separate and independent form of injury, apart from the direct financial injury

that Plaintiffs and other Plan participants/beneficiaries have suffered.

         138.154.      As noted above, however, Accredo’s prices for specialty drugs are

substantially higher than the prices at numerous retail pharmacies. No prudent fiduciary

would allow (much less force) plan participants/beneficiaries to obtain their prescriptions

at a pharmacy that charges substantially more for those prescriptions than other common

and popular retail pharmacies. Defendants’This is especially so given that Accredo only

offers    mail-order    service.     Wells     Fargo’s    imprudent    decision     to   steer

participants/beneficiaries to a higher-priced pharmacy has increased overall spending by

the Plan—thereby leading to increased premiums for all participants/beneficiaries—and

has forced participants/beneficiaries to pay more out-of-pocket for prescription drugs

subject to this steering.

         C.    DefendantsWells Fargo Agreed to Pay Excessive Administrative Fees to
               Express Scripts

         139.155.      As noted above, traditional PBMs like Express Scripts make most of

their money through spread pricing, rebate retention, and ownership of their own

pharmacies.     Traditional PBMs also typically charge relatively small amounts in

administrative fees. DefendantsWells Fargo, in addition to agreeing to unreasonable prices

for prescription drugs, agreed to pay Express Scripts unreasonably high administrative fees.

The administrative fees DefendantsWells Fargo agreed to make the Plan pay Express


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Scripts exceed market rates and the amounts that comparable companies paidagreed to pay

in administrative fees to Express Scripts for equivalent PBM services. These higher Plan

administrative fees, like the higher drug costs discussed above, were passed on to

participants/beneficiaries through increased premium contributions.

       140.156.      In 2019, DefendantsWells Fargo caused the Plan to pay $9,235,645 in

administrative fees to Express Scripts. In 2020, DefendantsWells Fargo caused the Plan to

pay $12,219,570 in administrative fees to Express Scripts. In 2021, DefendantsWells Fargo

caused the Plan to pay $14,117,839 in administrative fees to Express Scripts. In 2022,

DefendantsWells Fargo caused the Plan to pay $25,639,955 in administrative fees to

Express Scripts.    In 2023, Wells Fargo caused the Plan to pay $31,239,311 in

administrative fees to Express Scripts. These amounts do not include the cost of actual

prescription drugs paid for by the Plan; rather, they represent administrative fees only.

       141.157.      These fees greatly exceed the administrative fees paid to Express

Scripts (and at least one other large PBM) by other large plan sponsors with health plans

providing benefits for at least 30,000 participants, as is clear from a comparison of each

plans’plan’s reported direct payments to Express Scripts (or CVS Caremark) on their Form

5500s. for both 2022 and 2023. On information and belief, Express Scripts provided

equivalent or substantially equivalent PBM services to each of the plans sponsored by the

plan sponsors listed below received equivalent or substantially equivalent PBM services as

Wells Fargo in both 2022 and 2023:




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  Select Medical       Express
                                       $3,089,935        13          33,728         $91.61
   Corporation         Scripts
    Joint Plan
   Committee,
     Railroad          Express
                                       $4,014,060     12, 13, 99     211,623        $18.97
    Employees          Scripts
  National Health
 and Welfare Plan


The administrative fees that Defendants
      158. The “Service Codes” indicated on these plans’ Form 5500s are equivalent,

making this an apples-to-apples comparison. Service Code 12 is for “claims processing”

and Service Code 13 is for “contract administrator,” which in this context are

synonymous—as “contract administrator” (code 13), Express Scripts provided “claims

processing” services. Indeed, as shown above, some plans use Code 12, some use Code 13,

and some use both in referring to the same services from the same vendor.

       159.   Service Code 50, which appears on the Wells Fargo Plan’s Form 5500 entry

for Express Scripts, does not signify an additional service provided but only that the fees

were made by “direct payment from the plan.”

       160.   Service Code 73, which appears on the Charter Communications Form 5500,

indicates that in 2023, Charter Communications paid its PBM “other insurance fees and

expenses” on top of its payments for services under Service Codes 12 and 13. Even with

those extra payments, Charter still paid five times less than the Wells Fargo Plan paid in

administrative fees per participant.

       161.   Similarly, Service Code 99, which appears on the Form 5500 for the Joint

Plan Committee, Railroad Employees National Health and Welfare Plan, indicates that in


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2022 and 2023, the Railroad Employees National Health and Welfare Plan paid Express

Scripts “other fees” on top of its payments for services under Service Codes 12 and 13.

Even with those extra fees, the Railroad Employees plan still paid nine times less than the

Wells Fargo Plan paid in administrative fees per participant. If Wells Fargo had negotiated

administrative fees at the same per-participant level as the similarly-sized Railroad

Employees plan, it would have saved the Plan $28 million in 2023 alone, even if all drug

prices remained exactly the same.

       142.162.      The administrative fees that Wells Fargo agreed to pay are so high

that they exceed even the administrative fees charged by pass-through PBMs, who

generally charge about $6 per-member, per-month and do not collect any spread or retain

any rebates on top of that flat fee. SmithRx for example, charges $6 per-member, per-

month for its PBM services, which are equivalent in substance and quality to the services

provided by Express Scripts. DefendantsWells Fargo agreed to make the Plan pay over

$1114 per-member, per-month, and then on top of that, agreed to a contract that allows

Express Scripts to charge inflated prices and then collect spread and retain rebates. In other

words, even if DefendantsWells Fargo had agreed to reasonable prices for prescription

drugs, theirits contract with Express Scripts would still be imprudent due to excessive

fees—but in fact, theyWells Fargo agreed to both excessive administrative fees and

unreasonably high drug prices.




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       D.     Defendants’Wells Fargo’s Fiduciary Processes Were Fundamentally
              Flawed

       143.163.      DefendantsWells Fargo failed to engage in a prudent and reasoned

decision-making process before agreeing to a PBM contract (and extending/renewing a

contract) that requires the Plan and its participants/beneficiaries to pay Express Scripts the

above-described prices and includes the above-described fees and other terms. Prudent

plan fiduciaries would have taken readily available steps to reduce the Plan’s costs, which

DefendantsWells Fargo failed to take. Because of the extraordinarily high prices and fees

(and other onerous terms) to which DefendantsWells Fargo agreed, the Plan paid

substantially more for prescription drugs than theyit would have absent the conduct

described herein. Likewise, participants and beneficiaries of the Plan paid more in

premiums and out-of-pocket costs for prescription drugs than they would have absent the

conduct described herein.

       144.164.      First, even setting aside whether prudent fiduciaries would have

contracted with Express Scripts for all of their prescription-drug benefits, DefendantsWells

Fargo failed to adequately negotiate (or re-negotiate) the Plan’s contract with Express

Scripts and failed to prudently exercise theirthe Plan’s rights under that contract. As a

Fortune 50 employer with hundreds of thousands of employees, Wells Fargo has

substantial bargaining power with vendors, including PBMs. Prudent fiduciaries would

have—and other similarly sized companies’ plan fiduciaries have—used that bargaining

power to demand and obtain substantially better contractual terms, including terms relating

to prices and the way in which prices are determined. DefendantsWells Fargo could have


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taken these steps and obtained savings for the Plan and its participants/beneficiaries while

retaining theirthe Plan’s prescription-drug plan’s features and level of PBM services.

       145.165.      For example, prudent fiduciaries would have—and DefendantsWells

Fargo could have—ensured that the Plan’s prices for generic drugs purchased through the

Plan are set forth in a fixed unit-cost schedule or NADAC-based price instead of with

reference to AWP. By taking this one step, DefendantsWells Fargo would have reduced

their spending on generic drugs by 30% or more. Fiduciaries of comparable plans have

done exactly that in their negotiations with Express Scripts and have reduced their

prescription-drug spending by 30% or more as a result. This option was available to

DefendantsWells Fargo and would have saved the Plan and its participants/beneficiaries

millions of dollars across the prescription-drug program as a whole. Put another way,

Defendants’Wells     Fargo’s    fiduciary      breaches   caused       the   Plan   and   its

participants/beneficiaries to overpay by millions of dollars each year on prescription-drug

costs compared to available alternatives.

       166.   The fact that Wells Fargo could have obtained lower prices by acting more

prudently is confirmed by the fact that after this case was filed, Wells Fargo appears to

have belatedly renegotiated its prices with Express Scripts to lower them substantially. As

of the time this Amended Complaint is being filed, Wells Fargo has more favorable pricing

on 158 of the 260 drugs on the “National Preferred Formulary” discussed above and

highlighted in the original complaint. Across all 260 drugs, Wells Fargo’s prices are now

11% lower than they were when the original Complaint was filed.



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       146.167.       Prudent fiduciaries also would have—and DefendantsWells Fargo

could have—ensured that generic specialty drugs are priced as generic drugs and not placed

in the specialty drug category with branded specialty drugs. Prudent fiduciaries also would

have—and DefendantsWells Fargo could have—more closely supervised Express Scripts’

formulary management and more effectively exercised theirWells Fargo’s own rights to

make decisions about formulary inclusion and placement. Had DefendantsWells Fargo

adequately negotiated with Express Scripts and exercised theirits rights under the Plan’s

contracts, the Plan and its participants/beneficiaries would have saved millions of dollars.

       147.168.       Prudent fiduciaries also would have—and DefendantsWells Fargo

could have—ensured that Plan participants/beneficiaries were not steered toward a PBM-

owned pharmacy that has higher prices than other pharmacies while offering only limited

mail-order service.

       148.169.       Prudent fiduciaries also would have—and DefendantsWells Fargo

could have—ensured that the Plan’s administrative fees were in line with the administrative

fees paid by other plans of comparable size that also used Express Scripts as their PBM.

Had DefendantsWells Fargo adequately negotiated with Express Scripts regarding such

fees, the Plan and its participants/beneficiaries would have saved millions of dollars.

       149.170.       Second, DefendantsWells Fargo failed to adequately consider

contracting with a pass-through PBM, instead of Express Scripts, for all of the Plan’s

prescription-drug needs. Fiduciaries of similar plans across the country have conducted

comprehensive plan reviews and concluded that their plans’ interests were best served by

switching from a traditional PBM to a pass-through PBM. This option was equally

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available to DefendantsWells Fargo.            Given the extremely high prices that

DefendantsWells Fargo agreed to make the Plan and its participants/beneficiaries pay, the

Plan and its participants/beneficiaries would have been better served by switching from a

traditional PBM to a pass-through PBM, and those benefits would have been clear at the

time of contracting. DefendantsWells Fargo failed to adequately solicit bids from pass-

through PBMs, or alternatively, did solicit such bids but failed to act in the best interests

of the Plan and its participants/beneficiaries when choosing among competing bids. A

prudent process would have made clear that the Plan would save a substantial amount of

money for itself and its participants/beneficiaries by contracting with one or more pass-

through PBMs instead of entering into and/or renewing theirthe contract with Express

Scripts, without meaningfully (or at all) sacrificing availability of drugs, scope of pharmacy

network, quality of service, convenience, or any other factor related to plan features or

services. Had DefendantsWells Fargo adequately considered alternative PBMs and made

the prudent choice, the Plan and its participants/beneficiaries would have saved millions of

dollars.

       150.171.      SmithRx is a pass-through PBM that services a wide range of

healthcare plans. SmithRx is capable of providing a high level of service comparable or

superior to that provided by Express Scripts, and it currently services multiple clients who

formerly used Express Scripts as their PBM. DefendantsWells Fargo could have, but did

not, include SmithRx in theirits procurement process. If DefendantsWells Fargo had

contracted with SmithRx instead of agreeing to its contract with Express Scripts,

DefendantsWells Fargo would have saved the Plan and its participants/beneficiaries

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across the Plan as a whole, after accounting for all charges for all drugs, fees, and rebates.

Put another way, Defendants’Wells Fargo’s fiduciary breaches caused the Plan and its

participants/beneficiaries to overpay by millions of dollars each year on prescription-drug

costs compared to available alternatives.

       154.175.      Comparable savings were available to Defendants by contracting with

other pass-through PBMs as well. For example, Navitus is a pass-through PBM that

services a wide range of healthcare plans covering millions of livespersons. It is capable

of providing a high level of service comparable or superior to that provided by Express

Scripts. For 2022, Navitus’s commercial clients paid an average of $89.73 in net total costs

per-member, per-month. On information and belief, the Plan in 2022 paid substantially

more in net total costs per-member, per-month under the terms of the contract

DefendantsWells     Fargo    negotiated      with      Express     Scripts.     Put    another     way,

Defendants’Wells      Fargo’s    fiduciary      breaches         caused       the     Plan   and     its

participants/beneficiaries to overpay by millions of dollars each year on prescription-drug

costs compared to available alternatives.

       155.176.      Third, DefendantsWells Fargo failed to adequately consider carving

out theirthe specialty-drug program from theirthe broader contract with Express Scripts.

As described below, fiduciaries of similar plans across the country have conducted

comprehensive plan reviews and concluded that their plans’ interests were best served by

carving out specialty pharmacy benefits from their overall PBM contract. This option was

equally available to DefendantsWells Fargo. A prudent process would have revealed that

the Plan and its participants/beneficiaries would save money by carving out the

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specialty-drug program from the Plan’s contract with Express Scripts.                   Had

DefendantsWells Fargo adequately considered this option and made the prudent choice,

the Plan and its participants/beneficiaries would have saved millions of dollars.

       E.     An Attentive Fiduciary Would Have Recognized and Avoided the Flaws
              in Defendants’Wells Fargo’s Approach

              1.     Published Warnings and Guidance

       156.177.      Prominent media outlets, industry publications, governmental

entities, and research organizations have long reported on the PBM tactics and conflicts of

interest detailed above, and have warned plan administrators about the financial harms that

result when they fail to act prudently and instead allow PBMs to enrich themselves at the

expense of plans and their participants/beneficiaries. Prudent fiduciaries would heed this

advice—and many prominent companies’ fiduciaries have heeded this advice—by taking

steps to protect their plans from these widely-reported tactics. DefendantsWells Fargo

knew or should have known that theirits PBM contracts unreasonably failed to heed these

warnings and failed to protect the Plan and its participants/beneficiaries from these widely

reported tactics, despite having ample bargaining power. Defendants’Wells Fargo’s failure

to act prudently and theirits decision to enter into unreasonable arrangements with theirits

PBM cost the Plan and its participants/beneficiaries millions of dollars during the class

period.

       157.178.      As early as 2010, the International Foundation of Employee Benefit

Plan was reporting on the ways in which PBMs use specialty drugs to extract profits from

plans. One notable article written by a PBM expert warned that “most PBMs increase their


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profit margins by buying specialty drugs at low prices and selling them at far higher prices,

rather than using their marketplace leverage to decrease their clients’ costs.” The article

advised plans to “require your PBM to provide pass-through pricing for every specialty

drug dispensed” and to “invoice your plan based on the PBM’s actual acquisition cost.”

The article also recommended that plans “can—and should—position [themselves]

contractually to carve out specialty drugs after the contract begins, ensuring that you can

consistently obtain the best minimum guaranteed discount available, throughout the life of

the contract.” The article advised plans that they should “make sure to eliminate …

exclusivity provisions and replace them with provisions that allow you to carve out

specified services, including the provision of some or all specialty drugs, and the right to

negotiate contracts with alternative specialty drug pharmacies.”

       158.179.      A 2013 article in Fortune Magazine reported that traditional PBMs

“effectively pad bills by $8 to $10 a prescription” and, quoting a consultant who had

audited more than 100 PBM contracts, that “[t]he nation’s employers are being taken for a

ride” by traditional PBMs.

       159.180.      A 2017 article reported that “[c]ontrolling the formulary gives PBMs

a crucial point of leverage over the system” and warned that “PBMs place drugs on their

formularies based on how high a rebate they obtain, rather than the lowest cost or what is

most effective for the patient.” The same article warned that “[t]he MAC list that goes to

the pharmacy does not necessarily match the one for the health plan. By charging the plan

sponsor more than they pay the pharmacy in a reimbursement, PBMs can make anywhere

from $5 to $200 per prescription.”

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       160.181.      A 2017 article from Bloomberg titled “Drug Costs Too High? Fire

the Middleman” reported that PBMs “keep about 10 percent of the rebates from

manufacturers vying to get their medicines covered; they sometimes charge health-plan

clients more for generics than they reimburse the pharmacies dispensing them; and they

channel clients to their own specialty or mail-order pharmacies.” The article recounted

numerous success stories of companies that had moved away from the traditional PBM

model and delivered millions of dollars in savings to their plans and their employees.

       161.182.      A 2018 article from Axios reported that PBM contracts are often

“written with the PBM’s financial interests in mind” and that “those kinds of provisions

can result in lost savings for everyone, especially for small companies and their

employees.” The article warned that “[e]ven some of the largest companies think they are

protected because they have in-house and outside attorneys vetting contracts, yet that’s not

necessarily the case.” The article warns that “a major tactic to maximize profits” by PBMs

is controlling how different drugs are designated on the formulary.

       162.183.      A 2018 article from Axios quoted a prominent consultant who warned

that “One of the key components of the system is that transition of brand-name drug to

generic drug … [a]nd if you would allow a PBM or any third-party vendor to over-inflate

that amount ... you are being set up to lose every time.”

       163.184.      A 2018 report by drug price nonprofit 46Brooklyn Research detailed

PBMs’ use of spread pricing to reap massive profits, at the expense of payers, on generic

imatinib mesylate. As that report explained, payers who agree to pay prices that are

determined independently of what PBMs pay to pharmacies “lose all visibility into what

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their underlying drugs actually cost, handing the keys over to the PBM,” while “the PBM

can effectively just sit back as generic prices plummet, knowing that it is under no

requirement whatsoever to pass the full extent of those savings back” to the payer.

       164.185.      An extensive probe by the Columbus Dispatch, reporting on which

began in 2018, revealed “that CVS Caremark routinely billed the state [of Ohio] for drugs

at a far higher amount than it paid pharmacies to fill the prescriptions,” retaining “tens of

millions of dollars” in spread pricing. Among many other things, the Dispatch reported

that the traditional PBM “system has a built-in incentive for CVS Caremark and other

PBMs to maximize the price spreads: They get to keep the money” and that “the largest

spreads occurred among generic drugs.” The Dispatch’s reporting was picked up and

widely reported by national outlets.

       165.186.      A 2018 USA Today article about PBMs quoted a prominent

consultant describing a supposedly new pricing model by CVS Caremark as follows: “CVS

Caremark is using different language only to make it appear that it is being more

transparent. And the new pricing approach also doesn’t eliminate rebates on brand-name

drugs or spread pricing. When negotiating contracts with manufacturers, CVS Caremark

can label manufacturers’ payments with whatever labels Caremark wants: rebates,

manufacturer fees, health management fees, etc. Therefore, the question is what percentage

of total manufacturer payments Caremark passes through.”

       166.187.      A 2019 article quoted a prominent consultant who identified “[a] lack

of clear definitions of types of drugs” as an important issue, and explained that “PBMs

often play with the definitions of [specialty] drugs in ways that promote the health of their

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own bottom line.” The consultant advised that a payer “should make its own list of

specialty drugs” and “set minimum guaranteed discounts off public prices for each.” The

same consultant stated: “If you write a better contract, you can eliminate a lot of this stuff.”

       167.188.       A 2020 report commissioned by The Florida Pharmacy Association

and American Pharmacy Cooperative, Inc. warned that “as more brand name specialty

drugs … lose patent exclusivity in the coming years, there is growing risk that the extreme

pricing manipulation and steering we have identified on imatinib mesylate could become

more commonplace,” and recommended moving “to an acquisition cost-based model to

mitigate the risk of a dramatic rise in price exploitation on specialty generic drugs.”

       168.189.       A 2020 report on pharmacy benefits advised that traditional PBMs

have “misaligned incentives which can lead to price increases without providing equivalent

value for the purchasers of benefits” and advised that “Employers need to: • Think

differently about how to manage the pharmacy benefit. • Take action on addressing waste,

low-value drugs and excess costs often caused by PBMs and other pharmacy benefit

middlemen. • Make ethical and logical decisions over what a drug is worth and the

employer’s ability to pay – as plan sponsor and fiduciary, it’s critical that dollars are used

efficiently for plan beneficiaries. • Focus on innovative approaches to specialty drug

management.”

       169.190.       A 2021 report prepared by the House Committee on Oversight and

Reform Minority Staff warned that “PBMs engage in a number of questionable practices,

one of which is spread pricing, in which PBMs pay a pharmacy a lower amount than they



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report to a health plan sponsor.” The report further stated that PBMs use their control of

formularies to “drive patients to more expensive drugs.”

       170.191.      A 2022 BenefitsPro article directed at human resources officers

advised that “plan sponsors have more power than they may realize when evaluating a

PBM,” that “your PBM contract must be free of any ambiguities regarding the PBM’s

obligation to act in your best interests at all times,” that plan fiduciaries should “prohibit

the PBM from using any internal ‘proprietary’ algorithm that determines whether a drug

will be priced as a brand or generic drug,” that plan fiduciaries should “prohibit the MAC

Game by requiring the PBM to use the same MAC List to pay the pharmacy and to bill you

for generic drugs,” that plan fiduciaries should “make it clear that … the PBM must pass

through and not retain any rebates” and “define the term ‘rebate’ to include any and all

renumeration that the PBM receives from drug manufacturers based on your plan’s

utilization,” that plan fiduciaries should “require the PBM to … place drugs on your

formulary based on efficacy, safety and the true net cost of the drugs,” and that plan

fiduciaries should “audit your PBM to confirm that the PBM has delivered the contracted

pricing and has implemented your plan designs correctly.”

       171.192.      A February 2022 white paper on specialty drug management reported

that “the savings with Specialty PBM Carve-Out can be quite substantial, with savings

ranging from 25-50%. Sources of savings go beyond the supply chain elements of rebates

and drug discounts to incorporate benefits of the clinical and coverage model, including a

more cost-effective formulary, health economics-based coverage, more rigorous [prior

authorization], and more robust copay assistance programs.”

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       172.193.      A 2022 white paper from the University of Southern California (USC)

reported that “U.S. consumers and employers and the government often overpay for

generics as pharmacy benefit managers (PBMs) and their affiliated insurer companies

game opaque and arcane pricing practices to pad profits.”             The paper continues:

“Commercial tactics such as spread pricing, copay clawbacks and formularies that

advantage branded drugs over less expensive generics have funneled the savings from low-

cost generics into intermediaries’ pockets, rather than the pockets of patients.”

       173.194.      A 2023 report documented that PBMs regularly decline to replace

expensive brand-name drugs on formularies with newly released generics, stating that

“PBMs are persistently excluding generic competition from the market, resulting in higher

prices and less choice for patients and the healthcare system.” The report explained that

“PBMs prefer the high-list price, high-rebate drugs because they benefit from it.”

       174.195.      A 2023 guide to PBM contracting for employers identified “[t]he lack

of unit cost pricing for ALL generics” as the “most substantial cost excess seen in PBM

contracting,” and informed employers that “[a]n objective ($/unit) price for EVERY

generic entity must be presented in the proposal and integrated into the executed PBM

contract.” The same guide warns that “[i]f a plan sponsor (fiduciary) allows generics to be

priced at AWP-X%, ALL cost modeling and projections are not credible.”

       175.196.      A 2023 article reported on the “flow of money between major

consulting conglomerates and PBMs,” and quoted an industry attorney’s statement that

“[t]he broker not only gives bad advice to the employer that’s in the broker’s self-interest,

but the broker also allows the big PBM to write crazy terms into a contract.” The article

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further warned employers that “PBMs           … favor brand-name drugs over generic

equivalents, delay coverage of new generics and biosimilars, mark up prices of generic

drugs, and require employers to use the PBM’s mail-order pharmacy,” all to “boost the

PBM’s bottom line.”

       176.197.      The federal government has long recognized the cost savings that

result from basing prices on actual pharmacy acquisition costs rather than an AWP-based

model. The United States Office of Personnel Management (“OPM”), which manages the

civil service of the federal government, regularly issues guidelines and standards applicable

to insurance carriers that provide health care coverage to federal employees. Since at least

2011, those standards have required that carriers’ contracts with PBMs “base Carrier costs

on negotiated price with network pharmacies or the actual acquisition cost for PBM-owned

or affiliated pharmacies.” According to the latest guidelines, carriers must ensure that the

price of drugs filled by pharmacies not affiliated with the PBM are based on the negotiated

price in each pharmacy agreement plus a dispensing fee, without spread pricing. Likewise,

carriers must ensure that the price of drugs filled by PBM-owned or affiliated pharmacies

are based on the actual acquisition cost, plus a dispensing fee, without spread pricing.

PBMs must also disclose to carriers the MAC lists used for carriers’ pricing.

       177.198.      OPM also requires carriers to negotiate for full audit rights to all PBM

network pharmacy contracts, claims data, manufacturer payments (including all rebates,

however denominated), invoices, and clinical services coverage criteria. OPM further

requires carries to include in their PBM contracts terms related to having access to



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information at each claim and aggregate level between PBMs and pharmacies (including

PBMs and PBM-owned or affiliated pharmacies).

              2.     Defendants’Wells Fargo’s Own Business Experience

       178.199.      Wells Fargo, one of the largest financial services companies in the

world, is an active participant in the pharmaceutical market. Wells Fargo regularly

publishes research about the economics of the pharmaceutical industry and hosts an annual

healthcare conference that routinely features PBM market participants.

       179.200.      Wells Fargo has also operated a leading employee benefits consulting

practice and brokerage, advising clients on topics including pharmacy benefits and

conducting RFP processes on behalf of companies seeking new PBM contracts. In a 2017

“Employee Benefits Outlook” report, Wells Fargo advisors warned of rising prescription

drugs costs and specialty drug spending, and noted: “In today’s environment, employers

must work a little harder to improve the health of their population while minimizing

increasing costs for their employees.” Another 2017 article by a Wells Fargo advisor listed

PBM consolidation as a primary driver of rising prescription drug costs and encouraged

employers to “[r]eview your current pharmacy benefit manager contract to ensure that the

most aggressive unit cost and appropriate-use strategies are in place.” In 2013, a Wells

Fargo advisor explained that “substantial savings” were possible when employers act

prudently in assessing PBM options, pricing strategies, and contracts.

       180.201.      Wells Fargo analysts have noted that Express Scripts’ growth in

earnings has been driven by the very practices alleged here, including markups on specialty



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drug prescriptions, steering of plan members to its own pharmacy, and clients’ repeated

failure to identify and switch to alternative PBMs with better prices and terms.

               3.     Practices of Other Plans

        181.202.      Throughout the class period, the fiduciaries of other prescription-drug

plans publicly took one or more of the steps detailed above and saved their plans and their

participants/beneficiaries millions of dollars, with savings that far outweighed any costs

(financial or otherwise) of implementation. These options were equally available to

Defendants, whoWells Fargo, which could have retained theirthe Plan’s prescription-drug

plan’s features and the level of PBM services while obtaining substantial savings for the

Plan    (in   the   form   of   lower   payments     for   prescription   drugs)   and     their

participants/beneficiaries (in the form of lower premiums, lower out-of-pocket costs, lower

deductibles, lower coinsurance, lower copays, and higher wages or greater wage growth).

        182.203.       The following examples are illustrative and taken from public

reporting. Many other companies have taken similar steps and achieved similar results.

        183.204.      PepsiCo, Inc. is a multinational food, snack, and beverage corporation

that provides prescription-drug benefits for thousands of employees and their dependents.

In 2018, PepsiCo joined the National Drug Purchasing Coalition, which reports described

as a “group of the nation’s largest, most forward-thinking employers that use their

collective purchasing power to negotiate high quality, cost-effective and innovative

solutions for managing pharmacy benefits.” PepsiCo continues to use Express Scripts as

its PBM, but it has used its bargaining power to secure prices for generic drugs that are far

lower than Defendants’Wells Fargo’s prices. For the generic drugs in the table at paragraph

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116138    above,      DefendantsWells   Fargo   agreed   to   make    the   Plan   and   its

participants/beneficiaries pay, on average, 2.3 times as much as PepsiCo’s plan and

participants/beneficiaries pay for the same drugs. For the generic drugs in the table at

paragraph 124172 above, DefendantsWells Fargo agreed to make the Plan and its

participants/beneficiaries pay, on average, four times as much as PepsiCo’s plan and

participants/beneficiaries pay for the same drugs.

       184.205.        Caterpillar Inc. is an equipment manufacturer that provides

prescription-drug benefits for approximately 100,000 employees and their dependents. In

2010, Caterpillar began exercising full control over its formulary instead of deferring to

the formulary recommendations of its traditional PBM, and used that control to ensure that

decisions about formulary inclusion and placement were being made in the interests of its

plan rather than its PBM. Since making these changes, Caterpillar has saved millions of

dollars per year on its prescription-drug costs, with far lower per-patient and per-

prescription costs.    Bloomberg News reported on Caterpillar’s success in exercising

formulary control, reporting that “Caterpillar has saved tens of millions of dollars a year”

and quoting the company’s global benefits manager stating that Caterpillar’s “model is as

successful today as it’s ever been.”

       185.206.        Wayne Farms is a poultry processor that provides prescription-drug

benefits for approximately 12,000 employees and their dependents. In August 2020,

Wayne Farms carved out specialty drugs from its traditional PBM contract and

implemented a pass-through PBM model for its specialty drugs through Archimedes, a

pass-through PBM. This change resulted in substantial savings for Wayne Farms: When

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comparing the first six months of the specialty carve-out program to the same time period

in the year prior, Wayne Farms’ expenditures on specialty drugs decreased from $26.75 to

$16.03 in per-member per-month costs (“PMPM,” a common cost metric for prescription-

drug plans), representing a 40% decrease in plan spend. Net of fees, Wayne Farms

experienced a 31% decrease in plan spend for the first six months compared to the same

period the prior year. This change in plans was implemented with negligible member

disruption. Wayne Farms’s Director of Compensation and Benefits stated: “Implementing

this program was one of the best decisions our team has made. The savings are exceeding

projections and our members are extremely happy.”

      186.207.      American Casino & Entertainment Properties LLC (“ACEP”) was a

gaming company (which has since been acquired by a larger gaming company) that

provided prescription-drug benefits for thousands of employees and their dependents. In

2012, ACEP dropped its traditional PBM and switched to Navitus, a pass-through PBM.

Its prescription-drug costs decreased by 28 percent as a result of the switch. ACEP’s

Corporate Vice President of Human Resources stated that the company was able to

“maintain excellent coverage while providing substantial savings to our employees.”

      187.208.      Dean Foods was a food and beverage company (which has since been

acquired by another company) that provided prescription-drug benefits for approximately

15,000 employees and their dependents. In 2019, Dean Foods carved out all specialty

drugs from its traditional PBM contract, and Vivio, a pass-through PBM, began managing

all specialty drug benefits under Dean Foods’ prescription-drug plan. Prior to carving out

specialty drugs, Dean Foods was projected to spend approximately $8.798 million on

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specialty drugs in 2019. But after carving out specialty drugs, Dean Foods spent only

$5.569 million in specialty drugs in 2019, for a savings of $4.35 million in a single year.

       188.209.      Self-Insured Schools of California (SISC) is a public school Joint

Powers Authority that provides health care benefits to staff and their families at over 400

school districts in California, covering approximately 330,000 total members. In 2014,

SISC engaged in a comprehensive review of its prescription-drug benefit and concluded

that it could save money by no longer deferring to its traditional PBM’s formulary

management decisions (which SISC recognized were favoring more expensive drugs with

large rebates over cheaper drugs without rebates) and by identifying a PBM that was not

focused on driving usage of its own mail-order pharmacy. SISC conducted a prudent

process, hired a non-conflicted consultant, and eventually contracted a pass-through PBM.

By working with its pass-through PBM to design a custom formulary, and through the more

favorable pricing model of pass-through PBMs, SISC achieved substantial savings with

minimal member disruption. SISC’s Deputy Executive Officer stated: “We were very

surprised with what we were uncovering and confident that we weren’t cutting into

effectiveness, just trimming waste. Clinical effectiveness and safety always came first.”

       189.210.      The University of Southern California (USC) is a private research

university that provides prescription-drug benefits for more than 20,000 employees and

their dependents. By refusing to accept the formularies offered by its PBM and designing

its own higher-value formulary, USC reduced its drug spend by 40 percent in one year.

       190.211.      Golden Entertainment, Inc. is a gaming company that provides

prescription-drug benefits for more than 5,000 employees and their dependents. In or

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around 2019, Golden Entertainment switched from a traditional PBM to a pass-through

PBM. Just four months after implementation of its new approach, Golden Entertainment

achieved overall plan and member savings of 33.5%, including a 24% decrease in member

cost and a 29% decrease in PMPM costs.

       191.212.      The city of Kenosha, Wisconsin provides prescription-drug benefits

for approximately 2,400 employees and their dependents. In 2018, Kenosha replaced its

traditional PBM with a pass-through PBM. In its first three years with the pass-through

PBM, Kenosha saved $2.3 million in pharmacy costs, achieved a 38% decrease in net plan

PMPM costs, and achieved a 318% increase in rebates received. Kenosha’s Director of

Human Resources referred to the move to a pass-through PBM as “a rousing success” with

“complete transparency and significant cost savings,” and reported that “the City’s

pharmacy costs have dropped 38 percent, resulting in more than $2.3 million in cumulative

savings.“

       192.213.      The Montana Credit Union League (MCUL) Group Benefit Trust

provides health and life insurance benefits to nearly half of the 45 credit unions in the state

of Montana. In 2021, MCUL issued an RFP for a new pharmacy benefits manager and

contracted with a pass-through PBM. By making the change, MCUL achieved significant

reductions in PMPM costs, from $143 in 2021 to $88 in 2022.

       193.214.      Foot Locker is a sportswear and footwear retailer that provides

prescription-drug benefits for approximately 8,500 employees and their dependents. In

2021, Foot Locker switched from a traditional PBM to Navitus, a pass-through PBM.

During the first year after the switch, spending on drugs dropped 5%.

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       194.215.      Phifer Incorporated is a fabrics company that provides prescription-

drug benefits for approximately 1,000 employees and their dependents. At the end of 2022,

Phifer dropped its traditional PBM in favor of MedOne Pharmacy Benefit Solutions.

According to Phifer’s vice president of human resources, Phifer was able to hold its

premiums for 2024 flat because of the money it saved on drug spending.

       195.216.      The Teamsters Health and Welfare Trust Fund of Philadelphia and

Vicinity, a union fund that provides prescription-drug benefits for approximately 16,000

employees and their dependents, replaced their traditional PBM with Capital Rx in 2019.

The fund saved 17% on drug spending in its first year away from its traditional PBM, and

has saved more on drug spending each year than it projected. The executive director of the

fund referred to the fund’s decision to move away from a traditional PBM as the “best

decision ever.”

V.     ADDITIONAL FACTS REGARDING NAMED PLAINTIFFS AND HARM
       TO THEM

       A.     Plaintiffs Were Injured By Higher Out-Of-Pocket Costs for Prescription
              Drugs When They Purchased Their Medicines

       217.   As a result of Wells Fargo’s inattentiveness to prescription drug costs and

other fiduciary failures outlined herein, Plaintiffs were forced to pay – and did pay – more

money out of pocket for prescription drugs purchased through the Plan than they otherwise

would have paid but for Wells Fargo’s unlawful conduct. This financial injury is separate

and distinct from the financial injury that they suffered from excess premium costs (as

discussed in Section V.B below). To remedy this direct financial injury, Plaintiffs seek

make-whole relief from Wells Fargo as a Plan fiduciary (and as the party that has agreed

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to accept responsibility for the acts and omissions of its fiduciary appointees and delegates)

in the form of a surcharge equal to the amount of their harm and the harm suffered by their

fellow class members, as permitted under CIGNA Corp. v. Amara, 563 U.S. 421, 442

(2011) and Silva v. Metro. Lie. Ins. Co., 762 F.3d 711, 722 (8th Cir. 2014). In addition,

Plaintiffs seek equitable restitution and other available equitable remedies (including

prospective remedies) as provided by ERISA and set forth in their prayer for relief.

       218.   Plaintiffs each paid more money at the pharmacy counter than they would

have paid absent Wells Fargo’s unlawful conduct. Specifically, the drugs they purchased

at the pharmacy cost more than they would have if Wells Fargo and its appointed

fiduciaries acted prudently in negotiating prices for those drugs. Plaintiffs were responsible

for paying all or a percentage of those overcharges. Accordingly, they each suffered harm

from Wells Fargo’s misconduct in the form of financial loss. Typical examples of the

specific drugs that each Plaintiff purchased and the amount of the financial harm incurred

for each purchase is detailed below.

       196.219.      Plaintiff Sergio Navarro was enrolled in the Plan while he worked at

Wells Fargo. While he was enrolled in the Plan, Navarro paid premiums for his health

insurance coverage, part of which was for prescription drug coverage. He also paid co

pays and other out-of-pocket amounts attributable to his use of prescription drugs. Navarro

paid more in premiums and out-of-pocket costs than he would have paid absent

Defendants’Wells Fargo’s fiduciary breaches and prohibited transactions.

       197.220.      While enrolled in the Plan, Navarro obtained numerous prescriptions

for generic drugs for which DefendantsWells Fargo agreed to unreasonable prices,

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including [redacted drug 1] (218.37% average markup at time of prescriptions), [redacted

drug 2] (375.78%), and [redacted drug 3] (80.08%). For example, in August 2023, Navarro

filled a 30-day prescription of [redacted drug 1]. At the time, the acquisition cost for that

prescription was only $5.70. However, DefendantsWells Fargo agreed to terms with

Express Scripts under which that prescription cost nearly three times as much, $16.06.

Navarro was required to pay that full amount out-of-pocket, directly bearing the cost for

the overcharge. Similarly, in September 2023, Navarro filled another 30-day prescription

of [redacted drug 1]. At the time, the acquisition cost for that prescription was only $4.80.

However, DefendantsWells Fargo agreed to terms with Express Scripts under which that

prescription cost more than three times as much, $17.47. Navarro was required to pay that

full amount out-of-pocket, directly bearing the cost for the overcharge.

       198.221.      Plaintiff Jane Kinsella was enrolled in the Plan while she worked at

Wells Fargo. While she was enrolled in the Plan, Kinsella paid premiums for her health

insurance coverage, part of which was for prescription drug coverage. She also paid co

pays and other out-of-pocket amounts attributable to her use of prescription drugs. Kinsella

paid more in premiums and out-of-pocket costs than she would have paid absent

Defendants’Wells Fargo’s fiduciary breaches and prohibited transactions.

       199.222.      While enrolled in the Plan, Kinsella obtained numerous prescriptions

for generic drugs for which DefendantsWells Fargo agreed to unreasonable prices,

including [redacted drug 4] (95.77% average markup at time of prescriptions), [redacted

drug 5] (93.92%), and [redacted drug 6] (66.05%). For example, in September 2020,

Kinsella filled a 90-day prescription of [redacted drug 5]. At the time, the acquisition cost

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for that prescription was only $1.80. However, DefendantsWells Fargo agreed to terms

with Express Scripts under which that prescription cost more than three times as much,

$6.31. Kinsella was required to pay that full amount out-of-pocket, directly bearing the

cost for the overcharge. In November 2020, Kinsella filled a 90-day prescription of

[redacted drug 4]. At the time, the acquisition cost for that prescription was only $28.80.

However, DefendantsWells Fargo agreed to terms with Express Scripts under which that

prescription cost almost twice as much, $52.95.

       200.223.      Plaintiff Dayle Bulla was enrolled in the Plan while she worked at

Wells Fargo. While she was enrolled in the Plan, Bulla paid premiums for her health

insurance coverage, part of which was for prescription drug coverage. She also paid co

pays and other out-of-pocket amounts attributable to her use of prescription drugs. Bulla

paid more in premiums and out-of-pocket costs than she would have paid absent

Defendants’Wells Fargo’s fiduciary breaches and prohibited transactions.

       201.224.      While enrolled in the Plan, Bulla obtained numerous prescriptions for

generic drugs for which DefendantsWells Fargo agreed to unreasonable prices, including

[redacted drug 7] (117.98% average markup at time of prescriptions), [redacted drug 8]

(85.33%), [redacted drug 9] (127.88%), and [redacted drug 910] (231.60%). For example,

in December 2019, Bulla filled a 30-day prescription of [redacted drug 9]. At the time, the

acquisition cost for that prescription was only $4.80. However, DefendantsWells Fargo

agreed to terms with Express Scripts under which that prescription cost more than three

times as much, $14.52. Bulla was required to pay $10 out-of-pocket, directly bearing most

of the cost for the overcharge. In October 2019, Bulla filled a 30-day prescription of

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[redacted drug 7]. At the time, the acquisition cost for that prescription was only $8.70.

However, DefendantsWells Fargo agreed to terms with Express Scripts under which that

prescription cost almost three times as much, $25.35. Bulla was required to pay $10 out-

of-pocket, directly bearing part of the cost for the overcharge.

       202.225.      Plaintiff Theresa Gamage was enrolled in the Plan while she worked

at Wells Fargo. While she was enrolled in the Plan, Gamage paid premiums for her health

insurance coverage, part of which was for prescription-drug coverage. She also paid co-

pays and other out-of-pocket amounts attributable to her use of prescription drugs. Gamage

paid more in premiums and out-of-pocket costs than she would have paid absent

Defendants’Wells Fargo’s fiduciary breaches and prohibited transactions.

       203.226.      While enrolled in the Plan, Gamage obtained numerous prescriptions

for generic drugs for which DefendantsWells Fargo agreed to unreasonable prices,

including [redacted drug 1011] (52.65% average markup at time of prescriptions),

[redacted drug 1112] (89.15%), and [redacted drug 1213] (136.80%). For example, in July

2019, Gamage filled a 30-day prescription of [redacted drug 1011]. At the time, the

acquisition cost for that prescription was only $5.40. However, DefendantsWells Fargo

agreed to terms with Express Scripts under which that prescription cost nearly twice as

much, $9.45. Gamage was required to pay that full amount out-of-pocket, directly bearing

the cost for the overcharge. In December 2019, Gamage filled a six-day prescription of

[redacted drug 1213]. At the time, the acquisition cost for that prescription was only $4.62.

However, DefendantsWells Fargo agreed to terms with Express Scripts under which that



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prescription cost more than twice as much, $10.94. Gamage was required to pay $10.00

out-of-pocket, directly bearing most of the cost for the overcharge.

       227.   EnrolleesPlaintiff Erica McKinley was enrolled in the Plan share while she

worked at Wells Fargo, and continues to be enrolled in the Plan through COBRA. While

enrolled in the Plan, McKinley paid (and continues to pay) out-of-pocket amounts

attributable to her use of prescription drugs. McKinley has paid (and continues to pay)

more in out-of-pocket costs than she would have paid absent Wells Fargo’s fiduciary

breaches and prohibited transactions.

       228.   While enrolled in the Plan, McKinley obtained numerous prescriptions for

generic drugs for which Wells Fargo agreed to unreasonable prices, including [redacted

drug 14] (79.23% markup at time of prescriptions), [redacted drug 15] (87.20%), and

[redacted drug 16] (138.46%). For example, in October 2024 McKinley filled a 9-tablet

prescription of [redacted drug 15]. At the time, the acquisition cost of healthcare for that

prescription was only $1.64. However, Wells Fargo agreed to terms with Express Scripts

under which that prescription cost nearly twice as much, $3.07. McKinley was required to

pay that full amount out-of-pocket, directly bearing the cost for the overcharge. In

November 2023, McKinley filled a 21-tablet prescription of [redacted drug 16]. At the

time, the acquisition cost for that prescription was only $3.25. However, Wells Fargo

agreed to terms with Express Scripts under which that prescription cost more than twice as

much, $7.75. McKinley was also required to pay the full amount for this prescription out-

of-pocket, directly bearing all of the cost for the overcharge.



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       B.     Plaintiffs Were Injured By Higher Premium Contributions

       229.   As a result of Wells Fargo’s inattentiveness to prescription drug costs and

other fiduciary failures outlined herein, Plaintiffs also were forced to pay – and did pay –

more in premiums for their insurance coverage with Wells Fargo. In particular,through the

Plan (including prescription drug coverage) than they otherwise would have paid but for

Wells Fargo’s unlawful conduct. This financial injury is separate and distinct from the

financial injury that they suffered from excess out-of-pocket costs for prescription drug

purchases (as discussed in Section V.A above). To remedy this financial injury to Plaintiffs,

Plaintiffs seek make-whole relief from Wells Fargo as a Plan fiduciary (and as the party

that has agreed to accept responsibility for the acts and omissions of its fiduciary appointees

and delegates) in the form of a surcharge equal to the amount of their harm and the harm

suffered by their fellow class members, as permitted under CIGNA Corp. v. Amara, 563

U.S. 421, 442 (2011) and Silva v. Metro. Life Ins. Co., 762 F.3d 711, 722 (8th Cir. 2014).

In addition, Plaintiffs seek equitable restitution and other available equitable remedies as

provided by ERISA and set forth in their prayer for relief. Plaintiffs also seek relief on

behalf of the Plan, as described in the “Plan-Wide Relief” section of this Complaint and

elsewhere in their prayer for relief.

              1.      Plaintiffs Suffered Higher Premium Contributions While
                      Employed by Wells Fargo

       230.   All Plaintiffs, while employed by Wells Fargo and enrolled in the Plan,

shared in the cost of health care coverage with Wells Fargo and made premium

contributions for such coverage (including prescription drug coverage) through the Plan.


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       231.   As detailed above, in a self-funded Plan like the Plan, every dollar that is

paid out must be paid in. As such, greater expenses for prescription drugs (or any other

medical goods or services) necessitate increased contributions into the Plan.

       232.   The Plan is no exception. During the relevant period, all of the Plan’s

expenses arewere paid from the Trust, and the Trust is funded by a combination of

employer and employee contributions, along with . Other than a negligible amount of

investment income. Employee contributions are generally made via bi-weekly payroll

deductions. The amount of the required employee, the Trust was funded entirely by

contributions into the Plan. These contributions were made either by Wells Fargo itself or

by Plan participants like Plaintiffs.

       233.   Every year, Wells Fargo determined the proportion of the contributions that

would be made by Wells Fargo and the proportion that would be made by Plan participants.

In 2018, Wells Fargo required participants to pay 26.6% of contributions to the Plan; in

2019, Wells Fargo required participants to pay 26.8% of contributions to the Plan; in 2020,

Wells Fargo required participants to pay 26.6% of contributions to the Plan; in 2021, Wells

Fargo required participants to pay 25.0% of contributions to the Plan; in 2022, Wells Fargo

required participants to pay 25.2% of contributions to the Plan; in 2023, Wells Fargo

required participants to pay 26.6% of contributions to the Plan. These participant payments

were all made as premium contributions into the Trust.

       234.   The following table summarizes the Plan’s total contributions, the participant

contribution percentages as set by Wells Fargo, and the resulting participant share of the

per-participant contribution for each year from 2018-2023:

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proportion from the proportion it actually used each year during the class period.

Accordingly, decreases in Plan spending in those years would have led to proportional

decreases in required premium contributions by Plan participants, including Plaintiffs.

       237.    The total amount of contributions needed to fund the Trust each calendar year

iswas set in advance by Defendants, who set that amountWells Fargo based on an actuarial

projection of the Plan’s expected spending in that year. The Plan’s expected spending in

each year was based principally on the Plan’s actual spending in the preceding period.

       238.    The more that Defendants expectWells Fargo expected the Plan to spend on

healthcarehealth care (including on prescription drugs and related fees), the more they

require employees to pay intogreater the contributions to the Trust to cover a portion of

those expected costs. that were required. Accordingly, when the Plan’s healthcarehealth

care expenses (including expenses on prescription drugs and related fees) increase in onea

given year, employeesmore contributions are required to pay more in premiums in

futuresubsequent years. In this way, the Plan’s overpayments for prescription drugs and

related fees lead directly to increases in premiums for total contributions into the

Plan’sTrust.

       239.    Wells Fargo required participants, regardless to pay a proportion of these

total contributions. The proportion that Wells Fargo required participants to pay (as

opposed to paying on its own) was based on a pre-determined cost-sharing formula.

       240.    Over the past six years for which data is available (from 2018 to 2023), Wells

Fargo intentionally set participant contributions at 25-26% of overall Plan health care costs,

with Wells Fargo contributing the remaining 74-75%. Throughout this period, Wells Fargo

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had a company policy or practice of always setting participant contribution levels at 25-

26% of overall Plan health costs, and any minor variation was due to forecasting error. The

participant contribution proportion over these six years was remarkably stable and could

not have happened by random chance:

           Wells Fargo and Participant Contribution Percentages (2018-23)
 100.00%
  90.00%
  80.00%
  70.00%
  60.00%
  50.00%
  40.00%
  30.00%
  20.00%
  10.00%
   0.00%
              2018         2019              2020           2021              2022         2023

                        Participant Contribution %        Wells Fargo Contribution %



       241.   The statistical likelihood of this stability in contribution percentages

occurring by random chance is approximately one in a billion.

       242.   Rather than random chance, the consistent employee contribution percentage

across these six years reflects Wells Fargo’s policy or practice of setting participant

contribution levels at 25-26% of overall Plan health costs. This policy or practice was not

dependent on the overall level of Plan spending. In 2018, when Plan healthcare spending

was $11,947 per-participant, Wells Fargo required participants to pay 26.6% of that

amount. In 2023, when Plan healthcare spending was substantially higher—$15,373 per

participant—Wells Fargo required participants to pay the exact same percentage, 26.6%.

Put another way, we already know whether they fill any prescriptions during the Wells
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Fargo would have required participants to cover the same percentage of overall spending

if overall spending were substantially lower, because overall spending was substantially

lower a few years ago, and Wells Fargo set participant contributions at the same percentage.

       204.243.       In light of Wells Fargo’s policy or practice of maintaining the same

participant contribution level each year, any reduction in overall healthcare spending—

e.g., if Wells Fargo stopped causing the Plan to overspend on prescription drugs and related

fees by tens of millions of dollars each year—would result in proportionally lower

participant contributions in accordance with the established 75-25 contribution ratio that

Wells Fargo steadfastly maintained. For example, if Wells Fargo had negotiated a new

PBM contract that would have lowered costs by 10%, it would have maintained the same

75-25 contribution ratio and participant contributions would have been 10% lower, saving

participants tens of millions of dollars each year.

       205.244.       Plaintiffs, as employees of Wells Fargo and participants in the Plan,

were required to pay, and did pay, healthcare premiums into the Trust. In 2019, the Plan’s

218,107 participants made approximately $682.155 million in contributions to the Trust.

In 2020, the Plan’s 215,998 participants made approximately $695.73 million in

contributions to the Trust. In 2021, the Plan’s 214,353 participants made approximately

$692.51 million in contributions to the Trust. In 2022 (the most recent year of reporting),

the Plan’s 188,798 participants made approximately $650.94 million in contributions to the

Trust. Their healthcare premiums were higher than they would have been absent Wells

Fargo’s misconduct.



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       206.      Defendants set the required employee contributions each year as a percentage

of expected spending by the Plan. Over the past five years for which data is available (from

2018 to 2022), Defendants intentionally set employee contributions at the level necessary

to maintain a consistent and stable ratio of employer contributions to employee

contributions.     Specifically, Defendants set employee contributions at amounts they

projected would result in employees contributing premiums equal to 25% of overall Plan

healthcare costs, with Wells Fargo contributing the remaining 75%. In 2018, employees

made 26.65% of overall contributions to the Trust; in 2019, employees made 26.82% of

overall contributions to the Trust; in 2020, employees made 26.63% of overall

contributions to the Trust; in 2021, employees made 25.00% of overall contributions to the

Trust; and in 2022, employees made 25.21% of overall contributions to the Trust.

       207.      This stability in employee contribution percentage is the result of

Defendants’ intentional efforts to maintain a consistent ratio between employer and

employee contributions. In light of these efforts, if overall healthcare spending were lower

in any given year        e.g., if Defendants stopped causing the Plan to overspend on

prescription drugs and related fees by millions of dollars each year               employee

contributions would be lower as well, in order to maintain the same 75 25 split between

employer and employee contributions to which Defendants have demonstrated their

commitment.

       245.      If DefendantsThe fact that employee premium contributions increase when

plans overspend on prescription drugs is also supported by data and numerous independent

and/or government studies. The overwhelming consensus is that overpayments by

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employer-sponsored health care plans lead to increased premium contributions by

employees.

         246.   In 2024, the Federal Trade Commission (“FTC”) issued a report on PBMs.

See supra at ¶ 108. The FTC’s Report found that, in addition to directly affecting patients’

out-of-pocket costs, “inflated drug costs over time also result in higher premiums” for

patients who utilize commercial health insurance such as employer-provided insurance.

FTC Report at 47.

         247.   A 2023 report by The Center for American Progress, an independent

nonpartisan policy institute, similarly found that inflated drug prices “ultimately raise[]

costs for consumers through higher cost sharing and premiums.” Sam Hughes& Nicole

Rapfogel, Following the Money: Untangling U.S. Prescription Drug Financing, The

Center          for     American         Progress,             (Oct.       12,       2023),

https://www.americanprogress.org/article/following-the-money-untangling-u-s-

prescription-drug-financing/. The report found that “misaligned incentives throughout the

drug pricing system sustain high prices ultimately borne by patients. Patients absorb these

high prices through cost sharing or directly out of their pockets if they have not met their

deductibles or are uninsured. These unnecessary price increases also burden patients

through higher health plan premiums.” Id.

         248.   According to a 2023 report by Families USA, a nonpartisan organization that

examines health care policy, “almost 20% of health insurance premiums are driven by the

rising cost of prescription drugs.”      Families USA, Paying the Price: How Drug



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Manufacturers’ Greed Is Making Health Care Less Affordable for All of Us 5 (November

14, 2023).

       249.   A 2023 article about PBMs also notes the connection between premiums and

the higher costs of drugs, explaining that when drug costs increase, premium costs increase

as well, because “[i]nsurance premiums and copayments are based on list prices.” Arthur

Gale, If Pharmacy Benefit Managers Raise Drug Prices, Then Why Are They Needed?,

Mo. Med., July/August 2023, at 244.

       250.   An article from Peterson Center on Healthcare and KFF’s Health System

Tracker states, “Prescription drugs are one of the leading contributors to health spending

growth, and insurers frequently cite these higher drug costs as a reason for raising

premiums.” Gary Claxton et al., Examining High Prescription Drug Spending for People

with Employer Sponsored Health Insurance, Peterson-KFF Health System Tracker (Oct.

27, 2016), https://www.healthsystemtracker.org/brief/examining-high-prescription-drug-

spending-for-people-with-employer-sponsored-health-insurance/.        The article further

notes that retail prescription drug spending represents a larger share of total employer

insurance benefits than retail drugs represent as a share of total national health spending,

and therefore “growth in prescription drug spending may have a relatively large effect on

employer-sponsored health insurance premiums.” Id.

       251.   In a 2024 report commissioned by the Employee Benefits Security

Administration, RAND Corporation (a nonprofit, nonpartisan research organization) found

that “drug spending is conceptually related to premiums.” Andrew W. Mulcahy et al.,

Prescription Drug Prices, Rebates, and Insurance Premiums 4, RAND (Dec. 5, 2024),

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https://www.rand.org/pubs/research reports/RRA1820-3.html.            The   RAND      report

observed “a general trend of increasing health care and prescription drug costs to enrollees,

including premiums,” since 2014, id. at 30 (emphasis added), and stated that “[h]igher drug

spending will, holding all else constant, lead to higher premiums.” Id. at 52. The report

further explain[ed] that “[i]nsurers set health insurance premiums based on actuarial

projections of spending in the year,” and that “actuaries project aggregate drug spending

forward to estimate next-year spending.” Id. at 18, 54. RAND also found that, for

employer-sponsored health insurance coverage, “[t]he employer share of the premium

remained steady at 82-83 percent per year across 2014-2023.” Id. at 19. In other words,

as drug costs rose between 2014 and 2023, they were borne by both plan participants and

their employer proportionally relative to the percentage that each contributed to the total

insurance premium, which remained stable over time. And Wells Fargo required its

employees to pay a greater share of premiums (25-26%) than the average employer (17-

18%).

        252.    The RAND report’s findings—that the employer’s share of the premium

remains steady even when healthcare costs go up—align perfectly with Wells Fargo’s

practice of maintaining employee contributions steady at approximately 25 percent of the

total insurance premium. See supra ¶¶ 240-42. This further supports Plaintiffs’ allegation

that Wells Fargo follows standard industry practices by passing along rising drug costs to

Plan participants in proportion to the percentage of the premiums borne by such

participants.



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       253.   The data confirm these studies. A comprehensive analysis of health plans’

Form 5500 submissions shows that it is rare for any health plan to make substantial changes

to the participant contribution percentage from one year to the next. Specifically, across

over 17,000 observations from 2017 to 2023, health plans have increased the participant

contribution percentage by more than 5 percentage points from one year to the next only

5.4% of the time. These data confirm that health plans almost always hold participant

contribution percentages stable from year to year, meaning that increases in overall

spending are almost always borne proportionally by plan participants.

       208.254.       If Wells Fargo had not committed the fiduciary breaches and engaged

in the prohibited transactions alleged here, the Plan’s annual spending would have been

substantially lower, which in turn would have reduced the amount of the required employee

premium contributions each year, including the contributionsthose made by Plaintiffs.

They paid more in premiums than they would have paid absent Defendants’Wells Fargo’s

fiduciary breaches.

       255.   Plaintiffs paid the amount of employee contributions required by Wells

Fargo while they remained employed by Wells Fargo, and were injured by increases in

those premiums. Those premium increases were attributable to rising Plan expenses,

including expenses associated with excessive prescription drug costs.

              2.      Plaintiff McKinley Suffered Higher Premium Contributions for
                      Continuing COBRA Coverage After Separating from Wells
                      Fargo




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       256.   In the period after Plaintiff McKinley separated from employment with

Wells Fargo, McKinley’s premium contributions were, by definition and operation of law,

higher than they would have been if Plan expenses were lower.

       257.   Upon separating from employment with Wells Fargo, Plaintiff McKinley

enrolled in COBRA. COBRA is a federal law that allows former employees to continue

their group health insurance for a limited time after a qualifying event, such as job loss.

This temporary coverage provides a bridge while individuals find other health insurance

options. The employer is not required to pay for the former employee’s coverage; rather,

under federal law, a plan participant enrolled in COBRA coverage must pay the combined

amount of employee and employer contributions, plus a 2% fee. McKinley did so: She paid

the combined amount of employee and employer contributions, plus a 2% fee, as her

monthly premium contribution while enrolled in COBRA. Accordingly, the question of

whether Wells Fargo would have maintained the same 75-25 split in a hypothetical world

in which it complied with its fiduciary duties is especially irrelevant for McKinley, because

she was required to pay both the 75% and the 25%, i.e., 100%.

       258.   COBRA premiums for participants in self-insured plans, including the Wells

Fargo Plan, must be calculated on either an “actuarial basis” or “past cost” basis. See 29

U.S.C. § 1164(2). The actuarial basis requires an actuary to predict anticipated claims costs

based on past costs, plan design, census changes, and other factors. By far the largest factor

among these actuarial criteria is past costs/claims experience. Alternatively, under the

“past cost” method, the plan looks simply at previous costs for prior plan years and uses a

statutory formula as a basis for setting COBRA premiums. Under either method, COBRA

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premiums are based on total plan cost. Thus, under either method, higher drug costs and

higher administrative fees contribute to higher COBRA premium costs because they drive

up the costs of paid claims and the cost of administrative fees.

       259.   Wells Fargo’s fiduciary failures outlined herein, which drove up drug costs

and administrative fees, have also driven up (and continue to drive up) McKinley’s

premium contributions for COBRA coverage through the Plan. There is no dispute that

McKinley pays 100% of all premiums for COBRA coverage (plus a 2% administrative

fee), without any employer cost-sharing.

       260.   In summary, Plaintiff McKinley was required to pay more in both employee

premium contributions and COBRA premium contributions than she would have been

required to pay absent Defendant’s fiduciary breaches. And she continues to suffer

ongoing harm from the inflated COBRA premiums, which total $729.12 per month and are

borne exclusively by her.

              3.     Plaintiffs Have Engaged a Qualified Expert, Who Confirms the
                     Injury to Plaintiffs in the Form of Increased Premium
                     Contributions

       261.   Plaintiffs have engaged a well-qualified expert, Bonnie S. Albritton, who

confirms the injury to Plaintiffs in the form of increased premium contributions. See

Exhibit A (Declaration of Bonnie S. Albritton and attached Expert Report (the “Albritton

Report”)).

       262.   Plaintiffs’ expert is a principal with the actuarial consulting firm Lewis &

Ellis, LLC, and a highly-qualified actuary with credentials from numerous actuarial

organizations. See Albritton Report at 2-3. In the course of her professional work, she has

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served as an actuary and consultant in regards to health and welfare benefit plans (including

self-funded plans) on behalf of employers, brokers, and benefits consultants, and has

provided analysis regarding, among other things, rate development and employee

contribution strategy. Id. at 3.

       263.   Based on her experience and the documents she has reviewed (including

reported Form 5500 data for the Plan), Ms. Albritton has expressed the following opinions:

              1) In a self-funded plan, all healthcare costs must be funded by contributions
                 from the sponsoring employer and participating employees.

              2) While contributions for self-funded plans may be based on a number of
                 factors, the largest factor by far is actual and anticipated claim costs.

              3) The level of prescription drug spending directly affects total plan
                 spending and claim costs and is an increasingly large driver of such costs.
                 As such, prescription drug spending plays a significant role in the
                 calculation of premium contributions.

              4) In allocating premium contributions, most large employers target a set
                 ratio of employer/employee contributions to total premiums. Consistent
                 with this typical approach, Wells Fargo has historically set the employee
                 contributions at approximately 25% of total contributions, without
                 significant variation.

              5) Due to (1) the significant impact of prescription drugs on overall costs,
                 (2) the resulting impact on funding requirements for a self-insured plan
                 like the Wells Fargo Plan, and (3) the set target that Wells Fargo has used
                 (consistent with other large employers) for allocating employer and
                 employee contribution allocations, reduced prescription drug spending
                 would have resulted in reduced employee contributions.

       Id. at 2-3

       264.   Based on her knowledge and experience in the relevant field, Ms. Albritton

notes that “claims costs usually comprise more than 80% of contribution calculations and

are typically closer to 85% to 95%.” Id. at 6. Thus, “[b]y far the largest component of


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contribution rates is the expected claim costs.” Id. at 7. In addition, administrative fees for

PBMs and other third-party service providers also play a role. Id. at 6.

       265.   Claims costs are driven by the frequency of claims and the average cost per

claim. Id. at 7. Because “prescription drug costs represent a significant portion of

healthcare expenditures for self-funded health plans,” id. at 9, “[p]rescription drug

expenditures, particularly unit pricing, exert significant influence on overall plan costs

within self-funded health arrangements.” Id. at 4; see also id. at 10. Rising unit costs for

prescription drugs drive up total claims costs, which ultimately raises the contributions that

are required to cover those costs. Id. at 10.

       266.   In Ms. Albritton’s experience, the contribution split for most large employers

is based on a percentage of total expected costs. Id. at 8. In this structure, employers target

a fixed percentage for employee contributions (for example, 25% of total plan healthcare

costs), ensuring predictable cost sharing. Id. Thus, as expected costs increase, the total

contribution rates will increase, which in turn, results in proportionate changes in the

employees’ contributions. Id. at 8.

       267.   The Wells Fargo Plan is a good example. As Ms. Albritton explains in her

Expert Report, “[o]verall employee contributions have historically been approximately

25% of the total expected cost.” id. at 11. Although the employee contribution percentage

has varied slightly from year to year, it shows a clear pattern of this overall split between

the employer and employees. Id.




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participants/beneficiaries, including Plaintiff Navarro. The same is true of prior Plan years,

and in those years, all Plaintiffs.


       269.    Her expert analysis shows that the total contributions per employee have

changed at roughly the same rate as the total expenses, confirming that the expected costs

impact contribution rates. Id. at 12. This also confirms that, like most large employers,

Wells Fargo uses percentage-based cost sharing for its employee contributions. Id.

       270.    Based her review, it is her professional opinion that “Wells Fargo employees’

contributions were directly impacted by the plan costs, including prescription drug costs.

As plan costs increased, so did the employee contributions.” Id. It is also her professional

opinion that reduced prescription drug spending would have resulted in reduced employee

contributions. Id.

                                      PLAN-WIDE RELIEF

       210.271.       29 U.S.C. § 1132(a)(2) authorizes any participant or beneficiary of an

ERISA plan to bring an action on behalf of such plan and to obtain the plan-wide remedies

provided by 29 U.S.C. § 1109(a). Plaintiffs seek relief on behalf of the Plan pursuant to

thisthese statutory provisionprovisions for purposes of their Causes of Action in Counts

One and Three.

       211.272.       Plaintiffs seek recovery for injuries to the Plan sustained as a result of

the breaches of fiduciary duties referenced in Count One, the prohibited transactions

referenced in Count Three, and throughout this Complaint from the beginning of the statute

of limitations period through judgment in this matter.


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       212.273.        Plaintiffs are adequate to bring this derivative action on behalf of the

Plan, and their interests are aligned with the Plan’s participants and beneficiaries. Plaintiffs

do not have any conflicts of interest with any participants or beneficiaries that would impair

or impede their ability to pursue this action.

                             CLASS ACTION ALLEGATIONS

       213.274.        Plaintiffs bring this action as a class action pursuant to Federal Rule

of Civil Procedure 23 on behalf of the following proposed class: 3

               All persons who were participants in or beneficiaries of the
               Plan from July 30, 2018 through judgment in this matter (the
               “Class Period”).”), excluding any persons with fiduciary
               responsibility for the Plan and any persons who were not
               enrolled in the Plan’s self-funded health care program(s) that
               contracted with Express Scripts.

       214.275.        The members of the putative class are so numerous that joinder of all

potential class members is impracticable. Plaintiffs do not know the exact size of the class

but are informed and believe that the proposed class includes tens of thousands of persons

residing across the United States.

       215.276.        Plaintiffs’ claims are typical of the claims of other members of the

proposed class. Like other class members, Plaintiffs participated in the Plan and suffered

injuries as a result of Defendants’Wells Fargo’s mismanagement of the Plan.

DefendantsWells Fargo treated Plaintiffs consistently with other class members with

respect to their prescription drug coverage and payment obligations. Plaintiffs’ claims and




3
 Plaintiffs reserve the right to propose other or additional classes or subclasses in their motion for
class certification or subsequent pleadings in this action.
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the claims of all class members arise out of the same conduct, policies, and practices of

DefendantsWells Fargo as alleged herein, and all members of the class have been similarly

affected by Defendants’Wells Fargo’s wrongful conduct.

       216.277.      There are questions of law and fact common to the class that

predominate over any individual issues that might exist. Common questions include, but

are not limited to, whether the DefendantsWells Fargo and/or its designated officials with

Plan responsibilities are fiduciaries of the Plan; whether DefendantsWells Fargo and/or its

designees breached their fiduciary duties by engaging in the conduct described in this

Complaint; whether Defendants engagedWells Fargo caused the Plan to engage in

prohibited transactions; whether these alleged violations caused the Plan to overpay for

prescription drugs and class members to share in that financial burden; whether these

alleged violations caused the Plan to overpay in administrative fees and class members to

share in that financial burden; and whether the Plan and the class member participants and

beneficiaries are entitled to monetary, injunctive, and other equitable relief.

       217.278.      Plaintiffs will fairly and adequately protect the interests of the class

members. Plaintiffs have no interests antagonistic to those of other members of the class,

and they are committed to the vigorous prosecution of this action. In addition, Plaintiffs

have retained counsel competent and experienced in class-action litigation, including

ERISA class actions.

       218.279.      A class action is superior to other available methods for the fair and

efficient adjudication of this controversy because numerous identical lawsuits alleging

similar or identical causes of action would not serve the interests of judicial economy and

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would create a risk of inconsistent or varying adjudications with respect to individual

potential class members that would establish incompatible standards of conduct. A class

action would save time, effort, and expense and assure uniformity of decision for persons

similarly situated without sacrificing procedural unfairness or any undesirable result.

       219.280.      Plaintiffs are unaware of any members of the putative class who are

interested in presenting their claims in a separate action, nor would it be economically

feasible for them to do so.

       220.281.      This class action will not be difficult to manage due to the uniformity

of claims among the class members and the susceptibility of the claims to class litigation.

The proposed class has a high degree of cohesion.




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                                  CAUSES OF ACTION

                                      COUNT ONE
            Breach of Fiduciary Duties – 29 U.S.C. §§ 1104(a), 1132(a)(2)
       (on behalf of Plaintiffs, the Class, and the Plan against All Defendants)

       221.282.      Plaintiffs, on behalf of all others similarly situated, and on behalf of

the Wells Fargo & Company Health Plan, incorporate by reference all previous paragraphs

of this Amended Complaint as if fully re-written herein.

       222.283.      Defendants wereWells Fargo (including its designees/appointees) was

required to discharge theirWells Fargo’s duties with respect to the Plan solely in the interest

of the Plan’s participants and beneficiaries, and for the exclusive purpose of providing

benefits to participants and beneficiaries and defraying reasonable expenses of

administering the Plan. In addition, Defendants wereWells Fargo was required to act with

the care, skill, prudence, and diligence required by ERISA.

       223.284.      These duties required DefendantsWells Fargo to (among other things)

prudently manage the Plan’s prescription-drug benefit, carefully monitor the Plan’s PBM

and prescription drug costs and administrative fees to ensure that the Plan and

participants/beneficiaries paid only reasonable amounts for each prescription drug and for

administrative fees, and independently assess the formulary placement of each drug and

not simply follow the conflicted advice of an EBC or PBM. In making decisions about the

prescription-drug program, Defendants wereWells Fargo was required to consider all

relevant factors and options under the circumstances, including alternative arrangements

that were available to the Plan, PBM alternatives, the conflicts of interest of its vendors,



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whether the prices of drugs under itsthe Plan’s contract were reasonable, and steps taken

by other companies that successfully lowered their prescription-drug costs.

       224.285.      Instead of prudently managing the Plan’s prescription-drug program

and carefully monitoring the Plan’s PBM and prescription drug costs, DefendantsWells

Fargo effectively abdicated theirits fiduciary duties to a for-profit PBM, gave the PBM free

rein without any meaningful monitoring or review, allowed the Plan and its

participants/beneficiaries to pay extraordinarily high prices for prescription drugs and

administrative fees, ceded control of the Plan’s formulary to conflicted third parties, failed

to supervise those conflicted third parties or otherwise ensure that decisions were made in

the best interests of the Plan and its participants/beneficiaries, failed to conduct adequate

reviews of the Plan’s prescription-drug costs, failed to steer participants/beneficiaries to

lower-cost options, forced participants/beneficiaries to utilize a high-cost/low-service

mail-order pharmacy (Accredo) affiliated with the Plan’s PBM rather than allowing them

a reasonable choice of pharmacy providers, failed to engage in a prudent process for

monitoring the Plan’s formulary, and failed to take available steps that would have saved

the Plan and its participants/beneficiaries millions of dollars. Harms to the Plan have taken

the form of excessive payments for prescription drugs and excessive fees. Harms to

participants/beneficiaries have taken the form of higher premiums, higher out-of-pocket

drug costs, higher deductibles, higher coinsurance, higher copays, and lower wages or

limited wage growth.

       225.286.      Defendants’Wells Fargo’s breaches of fiduciary duty increased the

amounts that the Plan paid for prescription drugs and in fees, and also increased the

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amounts that Plaintiffs and members of the class were required to pay in premiums, out-

of-pocket costs, deductibles, co-pays, and co-insurance, and resulted in lower wages or

limited wage growth.

       226.287.      Pursuant to 29 U.S.C. § 1132(a)(2), Plaintiffs are entitled to obtain

relief under 29 U.S.C. § 1109(a) for Defendants’Wells Fargo’s fiduciary breaches,

including: (i) recovery of losses to the Plan; (ii) disgorgement of profits; and (iii) other

equitable or remedial relief as the Court deems appropriate, such as permanent injunctive

relief, removal of the current fiduciaries, replacement of the Plan’s PBM, appointment of

an independent fiduciary, fiduciary surcharge, equitable restitution, and other remedies.

       288.    Under ERISA, any monies restored to the Plan must be used for the benefit

of Plan participants and beneficiaries, and should be allocated, if feasible, to participants

and beneficiaries (including former participants and beneficiaries) like Plaintiffs who were

enrolled in the Plan at the time the unlawful conduct took place and were impacted by such

unlawful conduct. Further, prospective injunctive and other equitable relief on behalf of

the Plan will benefit current Plan participants such as Plaintiff McKinley and any former

Plan participants who may return to employment with Wells Fargo and rejoin the Plan.

                                       COUNT TWO
              Breach of Fiduciary Duties – 29 U.S.C. §§ 1104(a), 1132(a)(3)
              (on behalf of Plaintiffs and the Class against All Defendants)

       227.289.      Plaintiffs, on behalf of all others similarly situated, and on behalf of

the Wells Fargo & Company Health Plan, incorporate by reference all previous paragraphs

of this Amended Complaint as if fully re-written herein.



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       228.290.      Defendants were Wells Fargo (including its designees/appointees)

was required to discharge theirWells Fargo’s duties with respect to the Plan solely in the

interest of the Plan’s participants and beneficiaries, and for the exclusive purpose of

providing benefits to participants and beneficiaries and defraying reasonable expenses of

administering the Plan. In addition, Defendants wereWells Fargo was required to act with

the care, skill, prudence, and diligence required by ERISA.

       229.291.      These duties required DefendantsWells Fargo to (among other things)

prudently manage the Plan’s prescription-drug benefit, carefully monitor the Plan’s PBM

and prescription drug costs and administrative fees to ensure that the Plan and

participants/beneficiaries paid only reasonable amounts for each prescription drug, and

independently assess the formulary placement of each drug and not simply follow the

conflicted advice of an EBC or PBM. In making decisions about the prescription-drug

program, Defendants wereWells Fargo was required to consider all relevant factors and

options under the circumstances, including alternative arrangements that were available to

the Plan, alternative PBMs, the conflicts of interest of its vendors, whether the high prices

of drugs under itsthe Plan’s contract were justified by any other features of its PBM

agreement, and steps taken by other companies that successfully lowered their prescription-

drug costs.

       230.292.      Instead of prudently managing the Plan’s prescription-drug program

and carefully monitoring the Plan’s PBM and prescription drug costs, DefendantsWells

Fargo effectively abdicated theirits fiduciary duties to a for-profit PBM, gave the PBM free

rein without any meaningful monitoring or review, allowed the Plan and its

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participants/beneficiaries to pay extraordinarily high prices for prescription drugs and

administrative fees, ceded control of the Plan’s formulary to conflicted third parties, failed

to supervise those conflicted third parties or otherwise ensure that decisions were made in

the best interests of the Plan and its participants/beneficiaries, failed to conduct adequate

reviews of the Plan’s prescription-drug costs, failed to steer participants/beneficiaries to

lower-cost options, forced participants/beneficiaries to utilize a high-cost/low-service

mail-order pharmacy (Accredo) affiliated with the Plan’s PBM rather than allowing them

a reasonable choice of pharmacy providers, failed to engage in a prudent process for

monitoring the Plan’s formulary, and failed to take available steps that would have saved

the Plan and its participants/beneficiaries millions of dollars.

       231.293.       Defendants’Wells Fargo’s breaches of fiduciary duty increased the

amounts that Plaintiffs and members of the class were required to pay in premiums, out-

of-pocket costs, deductibles, co-pays, and other out of pocket costsco-insurance, and

resulted in lower wages or limited wage growth.

       232.294.       Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiffs and members of the

class are entitled to injunctive relief and other equitable relief including, without limitation,

the removal of the current fiduciaries, replacement of the Plan’s PBM, and appointment of

an independent fiduciary, fiduciary surcharge, equitable restitution, and other remedies.




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                                    COUNT THREE
           Prohibited Transactions – 29 U.S.C. § 1106(a)(1), 1132(a)(2)
    (on behalf of Plaintiffs, the Class, and the Class against All DefendantsPlan)

       233.295.      Plaintiffs, on behalf of all others similarly situated, and on behalf of

the Wells Fargo & Company Health Plan, incorporate by reference all previous paragraphs

of this Amended Complaint as if fully re-written herein.

       234.296.      As a service provider to the Plan, Express Scripts is a party in interest.

29 U.S.C. § 1002(14)(B).

       235.297.      By causing the Plan to enter into contracts with Express Scripts

throughout the class period, DefendantsWells Fargo caused the Plan to engage in

transactions that DefendantsWells Fargo knew or should have known constituted an

exchange of property between the Plan and Express Scripts prohibited by 29 U.S.C. §

1106(a)(1)(A), a furnishing of services between the Plan and Express Scripts prohibited by

29 U.S.C. § 1106(a)(1)(C), and a transfer of the Plan’s assets to, or use by or for the benefit

of Express Scripts prohibited by 29 U.S.C. § 1106(a)(1)(D).

       236.298.      The compensation that DefendantsWells Fargo agreed to pay Express

Scripts was not reasonable.

       237.299.      These prohibited transactions are not subject to any other exemption

under ERISA or applicable regulations.

       238.300.      Defendants’Wells Fargo’s prohibited transactions increased the

amounts that the Plan was required to pay in fees and for prescription drugs, and as a

resultalso increased the amounts that Plaintiffs and members of the class were required to

pay in premiums. Total losses to the Plan will be determined after complete discovery in

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this case, out-of-pocket costs, deductibles, co-pays, and co-insurance, and resulted in lower

wages or limited wage growth.

       301.   DefendantsPursuant to 29 U.S.C. § 1132(a)(2), Plaintiffs are personally

liable entitled to obtain relief under 29 U.S.C. § 1109(a) to make good to the Plan any

losses to the Plan resulting from the for Wells Fargo’s prohibited-transaction violations

alleged in this Count and are subject to transactions, including: (i) recovery of losses to

the Plan; (ii) disgorgement of profits; and (iii) other equitable, injunctive, and or remedial

relief as the Court deems appropriate, such as permanent injunctive relief, removal of the

current fiduciaries, replacement of the Plan’s PBM, appointment of an independent

fiduciary, fiduciary surcharge, equitable restitution, and other remedies.

       239.302.      Under ERISA, any monies restored to the Plan must be used for the

benefit of Plan participants and beneficiaries, and should be allocated, if feasible, to

participants and beneficiaries (including former participants and beneficiaries) like

Plaintiffs who were enrolled in the Plan at the time the unlawful conduct took place and

were impacted by such unlawful conduct. Further, prospective injunctive and other

equitable relief on behalf of the Plan will benefit current Plan participants such as Plaintiff

McKinley and any former Plan participants who may return to employment with Wells

Fargo and rejoin the Plan.




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                                     COUNT FOUR
             Prohibited Transactions – 29 U.S.C. § 1106(a)(1), 1132(a)(3)
             (on behalf of Plaintiffs and the Class against All Defendants)

       240.303.      Plaintiffs, on behalf of all others similarly situated, and on behalf of

the Wells Fargo & Company Health Plan, incorporate by reference all previous paragraphs

of this Amended Complaint as if fully re-written herein.

       241.304.      As a service provider to the Plan, Express Scripts is a party in interest.

29 U.S.C. § 1002(14)(B).

       242.305.      By causing the Plan to enter into contracts with Express Scripts

throughout the class period, DefendantsWells Fargo caused the Plan to engage in

transactions that DefendantWells Fargo knew or should have known constituted an

exchange of property between the Plan and Express Scripts prohibited by 29 U.S.C. §

1106(a)(1)(A), a furnishing of services between the Plan and Express Scripts prohibited by

29 U.S.C. § 1106(a)(1)(C), and a transfer of the Plan’s assets to, or use by or for the benefit

of Express Scripts prohibited by 29 U.S.C. § 1106(a)(1)(D).

       243.306.      The compensation that DefendantsWells Fargo agreed to pay Express

Scripts was not reasonable.

       244.307.      These prohibited transactions are not subject to any other exemption

under ERISA or applicable regulations.

       245.308.      Defendants’Wells Fargo’s prohibited transactions increased the

amounts that Plaintiffs and members of the class were required to pay in premiums, out-

of-pocket costs, deductibles, co-pays, and co-insurance, and resulted in lower wages or

limited wage growth.

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       246.309.       Pursuant to 29 U.S.C. § 1132(a)(3), Plaintiffs and members of the

class are entitled to injunctive relief and equitable relief including, without limitation,

surcharge, the removal of the current fiduciary, and fiduciaries, replacement of the Plan’s

PBM, appointment of an independent fiduciary, fiduciary surcharge, equitable restitution,

and other remedies.

                              DEMAND FOR JUDGMENT

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment on

their behalf and that of the Plan and proposed Class as follows:

       247.310.       Certifying and maintaining this action as a class action, with Plaintiffs

designated as class representatives and with their counsel appointed as class counsel;

       248.311.       Finding and declaring that DefendantsWells Fargo breached theirits

fiduciary duties and engaged in prohibited transactions as described above;

       249.312.       Enjoining DefendantsWells Fargo from any further such violations of

ERISA;

       250.313.       Ordering DefendantsWells Fargo to make good to the Plan all losses

to the Plan resulting from each breach of fiduciary duty and prohibited transaction, and to

otherwise restore the Plan to the position it would have occupied but for the breaches of

fiduciary duty and prohibited transactions;

       251.314.       Awarding fiduciary surcharge, equitable restitution, and/or other

make-whole equitable relief to Plaintiffs and members of the class to remedy

Defendants’Wells Fargo’s breaches of fiduciary duty and prohibited transactions;



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       252.315.       Removing the Plan’s fiduciary or fiduciaries and appointing an

independent fiduciary or fiduciaries to run the Plan;

       253.316.       Removing and replacing the Plan’s PBM and/or requiring a search for

alternative PBM candidates to replace the Plan’s PBM;

       254.317.       Awarding, as appropriate, other forms of monetary, injunctive, and

other equitable relief;

       255.318.       Awarding pre-judgment, post-judgment, and statutory interest;

       256.319.       Awarding attorneys’ fees and costs; and

       257.320.       Awarding such other and further relief as the Court may deem just and

proper.



Dated: July 30, 2024

                                         Respectfully Submitted,


                                              /s/ Amanda Williams__________
                                              Amanda Williams
Dated: May 8, 2025                       /s/ Kai H. Richter
                                         Kai H. Richter MN Bar No. 0296545
                                         Eleanor Frisch MN Bar No. 397776
                                         COHEN MILSTEIN SELLERS & TOLL, PLLC
                                         400 South 4th Street #401-27
                                         Minneapolis, MN 55415
                                         Telephone: (612) 807-1575
                                         krichter@cohenmilstein.com
                                         efrisch@cohenmilstein.com

                                         Michelle Yau (pro hac vice)
                                         Allison Pienta (pro hac vice)
                                         COHEN MILSTEIN SELLERS & TOLL, PLLC
                                         1100 New York Ave. NW, Eighth Floor

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                             Washington, D.C. 20005
                             Telephone: (202) 408-4600
                             myau@cohenmilstein.com
                             apienta@cohenmilstein.com

                             Michael Eisenkraft (pro hac vice)
                             COHEN MILSTEIN SELLERS & TOLL, PLLC
                             88 Pine Street, 14th Floor
                             New York, New York 10005
                             Telephone: (212) 838-7797
                             meisenkraft@cohenmilstein.com

                             Jamie Crooks (pro hac vice)
                             Michael Lieberman (pro hac vice)
                             FAIRMARK PARTNERS, LLP
                                   400 7th Street NW, Suite 304
                             Washington, DC 20004
                             Telephone: (619) 507-4182
                             jamie@fairmarklaw.com
                             michael@fairmarklaw.com

                             Daniel E. Gustafson
                             GUSTAFSON GLUEK PLLC
                             Canadian Pacific Plaza
                             120 South 6th Street, Suite 2600
                             Minneapolis, MN 55402
                             Telephone: (612) 333-8844
                             awilliamsdgustafson@gustafsongluek.com



                                 Jamie Crooks
                                 (pro hac vice application forthcoming)
                                 Michael Lieberman
                                 (pro hac vice application forthcoming)
                                 FAIRMARK PARTNERS, LLP
                                 1001 G Street NW
                                 Suite 400 East
                                 Washington, DC 20001
                                 Ph: (619) 507 4182
                                 Email: jamie@fairmarklaw.com
                                 michael@fairmarklaw.com


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                             Attorneys for Plaintiffs and the Proposed Class




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